              Case
     Fill in this      18-58406-sms
                  information                   Doc
                              to identify your case:   1    Filed 05/18/18 Entered 05/18/18 18:27:41                             Desc Main
                                                           Document      Page 1 of 139
     United States Bankruptcy Court for the:

     ____________________
     Northern              District of _________________
              District of Georgia      (State)


                                                            
     Case number (If known): _________________________ Chapter you are filing under:

                                                            
                                                                                                                                         Check if this is an
                                                                Chapter 7
                                                            ✔
                                                            
                                                                Chapter 11

                                                            
                                                                Chapter 12
                                                                Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        American   Underwriting Services, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               1255 Roberts Blvd                                        _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                               Suite 102
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Kennesaw                      GA    30144
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Cobb County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                www.americanunderwritingservices.com
                                           ____________________________________________________________________________________________________


                                           
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
6.    Type of debtor

                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
             Case 18-58406-sms             Doc 1        Filed 05/18/18 Entered 05/18/18 18:27:41                                Desc Main
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                American Underwriting Services, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:

                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
7.    Describe debtor’s business

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            524210
                                            _________

8.    Under which chapter of the         Check one:

                                          Chapter 7
      Bankruptcy Code is the

                                          Chapter 9
      debtor filing?

                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
                                          Yes.
      filed by or against the debtor
      within the last 8 years?                     District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
                                          Yes.
      pending or being filed by a
      business partner or an                       Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
           Case 18-58406-sms                     Doc 1      Filed 05/18/18 Entered 05/18/18 18:27:41                                 Desc Main
                                                           Document      Page 3 of 139
              American Underwriting Services, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:

                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
      district?                              ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                            ✔ No
      possession of any real
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)

                                                      
      attention?
                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                             ✔




                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999
                                             ✔




                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
                                             $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                                                              ✔

15.   Estimated assets
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           Case 18-58406-sms                   Doc 1        Filed 05/18/18 Entered 05/18/18 18:27:41                                Desc Main
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               American Underwriting Services, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                                                                   ✔

16.   Estimated liabilities
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.




                                            /s/ James Russell Wiley
                                                              05/18/2018
                                               Executed on _________________
                                                           MM / DD / YYYY


                                               _____________________________________________               James Russell Wiley
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Sole SH of The Wiley Group, Inc., Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Anna Humnicky
                                               _____________________________________________              Date         05/18/2018
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Anna Humnicky
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Small Herrin, LLP
                                               _________________________________________________________________________________________________
                                               Firm name
                                                Two Paces West, Suite 200 2727 Paces Ferry Rd.
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Atlanta
                                               ____________________________________________________             GA            30339
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                770-783-1800
                                               ____________________________________                              ahumnicky@smallherrin.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                377850
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
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                WRITTEN CONSENT IN LIEU OF MEETING OF
         THE MEMBERS OF AMERICAN UNDERWRITING SERVICES, LLC


        THE UNDERSIGNED, constituting the sole shareholder of The Wiley Group, Inc.
(“Wiley”), which is the sole Member and Manager of American Underwriting Services, LLC, a
limited liability company organized and existing under the laws of the State of Georgia
(hereinafter referred to as the “Company”), holding all membership interests in the Company,
pursuant to O.C.G.A. § 14-11-309 hereby gives his written consent (a) to the dispensation of a
special meeting of the Members of the Company and (b) to the taking of the following action,
which action could have been taken had such a meeting been held:

       WHEREAS, Wiley believes that it is in the best interest of the Company to file a petition
seeking relief under the United States Bankruptcy Code.

         NOW THEREFORE, BE IT RESOLVED that the filing by the Company of a petition for
relief under Chapter 11of Title 11 of the United States Code in the United States Bankruptcy
Court for the Northern District of Georgia (the “Petition”) is hereby approved an authorized; and
be it further

       RESOLVED, that James Russell Wiley (“R. Wiley”) is authorized and directed to sign
and execute the Petition and that the below signature of the sole shareholder of Wiley shall be
evidence of such approval; and be it further

        RESOLVED, that R. Wiley is authorized and directed to retain Kevin Van de Grift of the
financial advisory firm, GGG Partners, LLC, as Chief Restructuring Officer (“CRO”) of
Company; and be it further

       RESOLVED, that the law firm of Small Herrin, LLP, or such other law firm as
determined by R. Wiley, is authorized and directed to file on behalf of the Company the Petition;
and be it further

        RESOLVED, that the Company be and is authorized and directed to retain on behalf of
the Company the law firm of Small Herrin, LLP, or such other law firm, to render legal services
to, and to represent, the Company in connection with such proceedings and other related matters
in connection therewith, on such terms as R. Wiley has approved; and be it further

        RESOLVED, that the Company be and hereby is, authorized and directed to take any and
all such further action and to execute and deliver any and all such instruments and documents
and to pay all fees and expenses as in R. Wiley’s and the CRO’s judgment shall be necessary or
desirable, in order to fully carry out the intent and accomplish the purposes of the resolutions
adopted herein; and be it further
Case 18-58406-sms       Doc 1    Filed 05/18/18 Entered 05/18/18 18:27:41          Desc Main
                                Document      Page 6 of 139




        RESOLVED, that all acts heretofore lawfully done or actions lawfully taken by the
Company in connection with the reorganization of the Company or any matter related thereto,
including the previous engagement of the law firm of Small Herrin, LLP, or such other law firm,
or by virtue of these resolutions, are hereby in all respects ratified, confirmed and approved.

     IN WITNESS WHEREOF, the undersigned, constituting the sole Member of the
Company, has executed these Consent Resolutions this 18th day of May 2018.



                                                   ___/s/ J. Russ Wiley__________
                                                   James Russell Wiley, Sole Shareholder of
                                                   The Wiley Group, Inc., the Sole Member
                                                   and Manager of American Underwriting
                                                   Services, LLC




                                              2
              Case 18-58406-sms                 Doc 1        Filed 05/18/18 Entered 05/18/18 18:27:41                               Desc Main
                                                            Document      Page 7 of 139
      Fill in this information to identify the case:

                    American Underwriting Services, LLC
      Debtor name __________________________________________________________________



                                                                                                                                        Check if this is an
                                              Northern District of Georgia
      United States Bankruptcy Court for the:_______________________________

      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     ProSight Specialty
1    12 Mount Kemble Ave
     Suite 300C
                                                                                                                                                     5,188,554.33
     Morristown, NJ, 07960


     Lloyds of London/Tysers                                            Insurance premiums
2    9th Floor Beaufort House
     15 St Botolph Street
                                                                                                                                                     1,116,783.85
     London, England, EC3A 7EE

     American Millennium Insurance Company                              Insurance premium
3    1044 Route 23 North, STE 103
     Wayne, NJ, 07470
                                                                                                                                                     1,103,598.00


     SC&F Specialty Underwriters
4    160 Water Street
     16th Floor                                                                                                                                      266,347.94
     New York, NY, 10038-4922


     AIG                                                                Insurance premium
5    1200 Abernathy Rd Bldg 600, Suite 800
     Atlanta, GA, 30328                                                                                                                              254,368.75


     American Inter-Fidelity Exchange                                   Insurance premiums
6    9223 Broadway; Ste A
     Merrillville, IN, 46410                                                                                                                         130,306.26


     American Southern Insurance Companies                              Insurance premiums
7    3715 Northside Parkway Building 400,
     Suite 800                                                                                                                                       128,781.80
     Atlanta, GA, 30327

     ACE Westchester Specialty Grp                                      Insurance premiums
8    5505 N. Cumberland Ave.
     Suite 307                                                                                                                                       124,343.18
     Chicago, IL, 60656




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
               Case 18-58406-sms                   Doc 1      Filed 05/18/18 Entered 05/18/18 18:27:41                                  Desc Main
                                                             Document      Page 8 of 139
                     American Underwriting Services, LLC
    Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                    Name




     Name of creditor and complete              Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code        and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional           unliquidated,   total claim amount and deduction for value of
                                                                             services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff
     Risk Placement Services
9    33719 Treasury Center
     Chicago, IL, 60694-3700                                                                                                                              52,000.00


     Professional Safety Consultants                                       Insurance premiums
10 221 Victory Lane Suite 100
     Lincoln, NE, 68528                                                                                                                                   12,088.65



     Synovus Bank                                                          Credit Card Debt
11 PO Box 23061
     Columbus, GA, 31902-3061                                                                                                                             8,225.54


     Willcomply, LLC                                                       Insurance premium
12 3700 Park East Drive, Suite 250
     Beachwood, OH, 44122                                                                                                                                 1,478.50



     Jane R. Parker
13 204 Kier Street
     New Alexandria , PA, 15670                                                                                                                           0.00


     Hinson Building Corporation
14 540 48th Street Court East
     Bradenton , FL, 34208                                                                                                                                0.00


     Milner, Inc.
15 P.O. Box 923197
     Norcross, GA, 30010-3197
                                                                                                                                                          0.00


     State Tax Commission
16 P.O. Box 23050
     Jackson, MS, 39225-3050                                                                                                                              0.00


     Texas Dept of Insurance
17 Attn: Co Licensing and Reg Off, DIV
     50561 P O Box 149104
     Austin , TX, 78714-9104                                                                                                                              0.00


     Hibbs & Associates
18 2362 Three Bars Dr
     Snellville , GA, 30078                                                                                                                               0.00


     Multi Printing Solutions, Inc.
19 8113 S. Lemont Rd
     Darien , IL, 60561-1755
                                                                                                                                                          0.00


     Cobb County Tax Commissioner
20 P.O. Box 100127
     Marietta, GA, 30061-7027                                                                                                                             0.00




    Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
               Case 18-58406-sms                                    Doc 1             Filed 05/18/18 Entered 05/18/18 18:27:41                                                                     Desc Main
                                                                                     Document      Page 9 of 139

 Fill in this information to identify the case:

                American Underwriting Services, LLC
  Debtor name _________________________________________________________________

                                          Northern District of Georgia
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                       1,458,389.56
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                         1,458,389.56
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        8,386,876.80



4. Total liabilities ...........................................................................................................................................................................        8,386,876.80
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 18-58406-sms                        Doc 1    Filed 05/18/18 Entered 05/18/18 18:27:41                         Desc Main
                                                               Document     Page 10 of 139
  Fill in this information to identify the case:

               American Underwriting Services, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Northern District of Georgia
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

   
   
            No. Go to Part 2.
    ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                    Type of account            Last 4 digits of account number
          Bank of North Georgia, a division of Synovus______________________
    3.1. _________________________________________________  Checking
                                                             (name on account:             Transport
                                                                                               4 ____
                                                                                               ____  7South
                                                                                                         1 Insurance
                                                                                                         ____ 8
                                                                                                              ____   Agency, LLC)
                                                                                                                         250,000.00
                                                                                                                       $______________________
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____       0.00
                                                                                                                       $______________________


4. Other cash equivalents (Identify all)
          Undeposited checks
    4.1. _____________________________________________________________________________________________________                     100,000.00
                                                                                                                                 $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 350,000.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Lease depoist, Roberts Blvd., LLC
    7.1. ________________________________________________________________________________________________________                   12,000.00
                                                                                                                                  $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                             page 1
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Debtor           American Underwriting Services, LLC       Document
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                                                                                   Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                    12,000.00
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     1,086,389.56
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   1,086,389.56
                                                                                                                                  $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:         0.00
                                   ___________________________    0.00
                                                               – ___________________________          = ........                   0.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 1,086,389.56
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s


      No. Go to Part 5.
13. Does the debtor own any investments?


      Yes. Fill in the information below.
      ✔




                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 2
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Debtor                                                     Document     Page 12 of 139
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                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used      Current value of
                                                        physical inventory       debtor's interest        for current value          debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________            ______________                                                              $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                 $______________________
     Add lines 19 through 22. Copy the total to line 84.



     
24. Is any of the property listed in Part 5 perishable?


     
            No
            Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     
     
            No
            Yes. Book value _______________          Valuation method____________________ Current value______________


     
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?


     
            No
            Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used      Current value of debtor’s
                                                                                 debtor's interest        for current value          interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________    $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 3
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Debtor
                American Underwriting Services, LLC        Document
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               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                (Where available)
39. Office furniture
5 office furniture sets (desk & credenza), 9 work stations, 13 office chairs,
16 desk chairs, 15 file cabinets, 1 sofa, 1 coffee table, 1 side table, 1 glass    0.00                Fair Market Value         7,000.00
                                                                                 $________________    ____________________     $______________________
top stand up desk, 1 computer hutch, 2 conference tables
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
    communication systems equipment and software
9 computers, 20 monitors                                                                               Fair Market Value         3,000.00
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                 10,000.00
                                                                                                                               $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes

     
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
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 Debtor                                                    Document
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                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes. Fill in the information below.
      ✔




    General description                                                     Net book value of     Valuation method used    Current value of
                                                                            debtor's interest     for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                            (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________          $________________     ____________________   $______________________

    47.2___________________________________________________________          $________________     ____________________   $______________________

    47.3___________________________________________________________          $________________     ____________________   $______________________

    47.4___________________________________________________________          $________________     ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________           $________________     ____________________   $______________________

    48.2__________________________________________________________           $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________           $________________     ____________________   $______________________

    49.2__________________________________________________________           $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

    ______________________________________________________________           $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                          $______________________
     Add lines 47 through 50. Copy the total to line 87.




     
52. Is a depreciation schedule available for any of the property listed in Part 8?


     
          No
          Yes



     
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?


     
          No
          Yes




 Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                       page 5
             Case  18-58406-sms Doc 1
               American Underwriting Services, LLC
                                                               Filed 05/18/18 Entered 05/18/18 18:27:41 Desc Main
 Debtor                                                       Document
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                                                                                      Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of    Valuation method used     Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest    for current value         debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1
       1255 Roberts Blvd, Suite 102                            Leasehold
       Kennesaw GA, 30144                                      interest               0.00                 N/A                       0.00
                                                                                     $_______________     ____________________      $_____________________

55.2

                                                                                     $_______________     ____________________      $_____________________

55.3

                                                                                     $_______________     ____________________      $_____________________


56. Total of Part 9.                                                                                                                 0.00
                                                                                                                                    $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.



       
57. Is a depreciation schedule available for any of the property listed in Part 9?
       ✔
       
            No
            Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔
       
            No
            Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of    Valuation method          Current value of
                                                                                     debtor's interest    used for current value    debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________    ______________________   $____________________

61. Internet domain names and websites
                                                                                       0.00               N/A                         Unknown
       www.americanunderwritingservices.com
       ______________________________________________________________                $_________________    ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________    ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________    ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________    _____________________    $____________________
65. Goodwill
       ______________________________________________________________                 $________________    _____________________    $____________________

66. Total of Part 10.                                                                                                                 0.00
                                                                                                                                    $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                             page 6
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Debtor            American Underwriting Services, LLC           Document
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                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    
    ✔     No
          Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔
    
          No
          Yes


    
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    ✔
    
          No
          Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    
      ✔
           No. Go to Part 12.
           Yes. Fill in the information below.
                                                                                                                                           Current value of
                                                                                                                                           debtor’s interest
71. Notes receivable

                                                                                                                                     =
     Description (include name of obligor)

     ______________________________________________________
                                                                          _______________     –   __________________________              $_____________________
                                                                          Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                                Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                        $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                        $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                        $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                         $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                           $_____________________
   ____________________________________________________________                                                                           $_____________________
78. Total of Part 11.
                                                                                                                                          $_____________________
    Add lines 71 through 77. Copy the total to line 90.



    
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


    
          No
          Yes

Official Form 206A/B                                              Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case 18-58406-sms                          Doc 1         Filed 05/18/18 Entered 05/18/18 18:27:41 Desc Main
                   American Underwriting Services, LLC
Debtor                                                                Document
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                                                                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         350,000.00
                                                                                                       $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                         12,000.00
                                                                                                       $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                         1,086,389.56
                                                                                                       $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                         0.00
                                                                                                       $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                         0.00
                                                                                                       $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                         0.00
                                                                                                       $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                         10,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
                                                                                                       $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                                                               0.00
                                                                                                                                             $________________

                                                                                                         0.00
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

                                                                                                  +      0.00
                                                                                                       $_______________
90. All other assets. Copy line 78, Part 11.

                                                                                                         1,458,389.56
                                                                                                       $_______________
                                                                                                                                              0.00
                                                                                                                                             $________________
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                                              +   91b.




                                                                                        1,458,389.56                                                              1,458,389.56
                                                                                                                                                                 $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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                American Underwriting Services, LLC           Document     Page 18 of 139
 Debtor 1                                                                _                  Case number (if known)
               First Name     Middle Name         Last Name



                                                      Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Bank of North Georgia,                        Checking                                  5668
 a Division of Synovus

Balance: 0.00

Bank of North Georgia,                        Checking                                  5650
 a division of Synovus

Balance: 0.00




Official Form 206 A/B                                                  Schedule A/B: Property
              Case 18-58406-sms                            Doc 1    Filed 05/18/18 Entered 05/18/18 18:27:41                                        Desc Main
                                                                   Document     Page 19 of 139
  Fill in this information to identify the case:
              American Underwriting Services, LLC
  Debtor name __________________________________________________________________
                                          ______________________
  United States Bankruptcy Court for the: Northern               District of _________
                                                   District of Georgia

                                                                                                                                                         Check if this is an
                                                                                         (State)

  Case number (If known):       _________________________
                                                                                                                                                             amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                 12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                  Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                   Amount of claim           Value of collateral
                                                                                                                                  Do not deduct the value   that supports this
2.1 Creditor’s name                                                                                                               of collateral.            claim
                                                                 Describe debtor’s property that is subject to a lien

      __________________________________________                                                                                  $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________   Describe the lien
                                                                  _________________________________________________
    Creditor’s email address, if known
                                                                 Is the creditor an insider or related party?
                                                                 
      _________________________________________

                                                                 
                                                                      No
    Date debt was incurred           __________________               Yes


                                                                 
    Last 4 digits of account                                     Is anyone else liable on this claim?

                                                                 
    number                   _________________                        No
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the

     No
    same property?
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                 
                                                                 
                                                                      Contingent

                                                                 
                                                                      Unliquidated
                                                                      Disputed


2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                  $__________________        $_________________
      __________________________________________
     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________
                                                                 Describe the lien
    Creditor’s email address, if known
                                                                   _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
                                                                 
    Date debt was incurred           __________________

                                                                 
                                                                      No
    Last 4 digits of account                                          Yes
    number                   _________________

                                                                 
                                                                 Is anyone else liable on this claim?

                                                                 
    Do multiple creditors have an interest in the                     No
    same property?
     No
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     Yes. Have you already specified the relative               As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                
              priority?

                                                                 
              No. Specify each creditor, including this               Contingent

                                                                 
                   creditor, and its relative priority.               Unliquidated
                                                                      Disputed


             Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                   $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                           0
                                                                                                                                                               page 1 of ___
                 Case 18-58406-sms               Doc 1     Filed 05/18/18 Entered 05/18/18 18:27:41                                 Desc Main
   Fill in this information to identify the case:         Document     Page 20 of 139

   Debtor
                    American Underwriting Services, LLC
                    __________________________________________________________________

   United States Bankruptcy Court for the: ________________________________
                                           Northern District of Georgia
   Case number       ___________________________________________


                                                                                                                                       Check if this is an
    (If known)



                                                                                                                                         amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s



    
 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).


    
         No. Go to Part 2.
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Georgia Department of Revenue                                                                                                    $_________________

                                                            
                                                            Check all that apply.
    1800 Century Blvd.
                                                            
                                                                Contingent

                                                            
    Suite 9100                                                  Unliquidated
    Atlanta, GA, 30345                                          Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
                                                             _________________________________
    _________________________________


                                                            
    Last 4 digits of account                                Is the claim subject to offset?

                                                             Yes
    number      _______________________                      ✔ No


    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Internal Revenue Service                                As of the petition filing date, the claim is: $______________________
                                                                                                            Unknown                  $_________________

                                                            
                                                            Check all that apply.
    Central Insolvency Operations
                                                            
    PO Box 7346                                                 Contingent

                                                            
    Philadelphia, PA, 19101                                     Unliquidated
                                                                Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
                                                             ________________________________
    _________________________________

    Last 4 digits of account

                                                            
    number      _______________________                     Is the claim subject to offset?

                                                             Yes
                                                             ✔ No

    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Texas Comptroller of Public Accounts                                                                                             $_________________

                                                            
                                                            Check all that apply.
    Texas Surplus Lines Department
                                                            
                                                                Contingent
    PO Box 13528
                                                            
                                                                Unliquidated
    Austin, TX, 78711-3528                                      Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes  & Other Government Units
                                                             ________________________________
    _________________________________

    Last 4 digits of account

                                                            
    number      _______________________                     Is the claim subject to offset?

                                                             Yes
                                                             ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)
                               8


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 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             0.00
                                                                           
    1st Patriot Insurance Services, LLC                                    Check all that apply.                           $________________________________

                                                                           
    2616 N. McColl Rd                                                          Contingent

                                                                           
    McAllen, TX, 78501                                                         Unliquidated
                                                                               Disputed

                                                                           Basis for the claim: ________________________


                                                                           
    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

                                                                           
                                                                           ✔   No
    Last 4 digits of account number            ___________________             Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             0.00
                                                                                                                           $________________________________
                                                                           
    A to Z Insurance Group, Inc                                            Check all that apply.

                                                                           
    5959 S Staples Ste 102                                                     Contingent

                                                                           
    Corpus Christi, TX, 78413                                                  Unliquidated
                                                                               Disputed

                                                                           Basis for the claim: ________________________

                                                                           Is the claim subject to offset?
                                                                           
    Date or dates debt was incurred            ___________________

                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________              Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             0.00
                                                                                                                           $________________________________

                                                                           
    A.I.Credit Corporation                                                 Check all that apply.

                                                                           
    P.O. Box 9045                                                              Contingent

                                                                           
    New York, NY, 10087-9045                                                   Unliquidated
                                                                               Disputed

                                                                           Basis for the claim: ________________________
                                                                           Is the claim subject to offset?
                                                                           
    Date or dates debt was incurred            ___________________

                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________              Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                             0.00
                                                                                                                           $________________________________
                                                                           
    AAA Truck Agency Corp                                                  Check all that apply.

                                                                           
    25303 IH 45 N The Woodlands                                                Contingent

                                                                           
    Spring, TX, 77380                                                          Unliquidated
                                                                               Disputed

                                                                           Basis for the claim: ________________________


                                                                           
    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

                                                                           
                                                                           ✔
                                                                               No
    Last 4 digits of account number            __________________              Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ABCO Premium Finance                                                                                                     0.00
                                                                                                                           $________________________________
                                                                           
                                                                           Check all that apply.
    PO BOX 141029
                                                                           
                                                                               Contingent

                                                                           
    Coral Gables, FL, 33114                                                    Unliquidated
                                                                               Disputed

                                                                           Basis for the claim: ________________________


                                                                           
    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________              Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     0.00
                                                                                                                           $________________________________
                                                                           
    Acadia Coffee Service, Inc.                                            Check all that apply.

                                                                           
    1165 Allgood Road suite 17                                                 Contingent

                                                                           
    Marietta, GA, 30062-2238                                                   Unliquidated
                                                                               Disputed

                                                                           Basis for the claim: ________________________


                                                                           
    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

                                                                           
                                                                           ✔   No
    Last 4 digits of account number            ___________________             Yes



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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         124,343.18
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 ACE Westchester Specialty Grp                                             Contingent

                                                                       
 5505 N. Cumberland Ave.                                                   Unliquidated
 Suite 307                                                                 Disputed
 Chicago, IL, 60656


                                                                                            Insurance premiums
                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Acrisure, LLC                                                         Check all that apply.

                                                                       
 5664 Prairie Creek Drive, SE                                              Contingent

                                                                       
 Caledonia, MI, 49316                                                      Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  9
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Adams Trucking Insurance                                              Check all that apply.

                                                                       
 145 Stately Oaks Cir.                                                     Contingent

                                                                       
 Brunswick, GA, 31523                                                      Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Affiance Insurance Agency                                             Check all that apply.

                                                                       
 PO Box 1306                                                               Contingent

                                                                       
 Buda, TX, 78610                                                           Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 AFS/ Ibex                                                             Check all that apply.

                                                                       
 PO Box 224528                                                             Contingent

                                                                       
 Dallas, TX, 75222                                                         Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         254,368.75
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 AIG                                                                       Contingent

                                                                       
 1200 Abernathy Rd Bldg 600, Suite 800                                     Unliquidated
 Atlanta, GA, 30328                                                        Disputed



                                                                                            Insurance premium
                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 All Solutions Insurance Agency, LLC                                   Check all that apply.

                                                                       
 22364 Alessandro Blvd                                                     Contingent

                                                                       
 Moreno Valley, CA, 92553                                                  Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  14
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 All-Wheels Insurance Services                                         Check all that apply.

                                                                       
 1001 Cypress Creek Road Ste403                                            Contingent

                                                                       
 Cedar Park, TX, 78613                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Alliant Insurance Services, Inc.                                      Check all that apply.

                                                                       
 5100 Thompson Terrace Ste A                                               Contingent

                                                                       
 Colleyville, TX, 76034                                                    Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Allnations Insurance Agency                                           Check all that apply.

                                                                       
 2537 S Gessner Ste 110                                                    Contingent

                                                                       
 Houston, TX, 77063                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Allsure Insurance                                                         Contingent

                                                                       
 1722 Prairie Grove Dr                                                     Unliquidated
 Houston, TX, 77077                                                        Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         130,306.26
                                                                                                                       $________________________________
                                                                       
 American Inter-Fidelity Exchange                                      Check all that apply.

                                                                       
 9223 Broadway; Ste A                                                      Contingent

                                                                       
 Merrillville, IN, 46410                                                   Unliquidated
                                                                           Disputed

                                                                                            Insurance premiums
                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  19
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 American Internat'l Companies                                         Check all that apply.

                                                                       
 P.O. Box 30174                                                            Contingent

                                                                       
 New York, NY, 10087-0174                                                  Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        1,103,598.00
                                                                                                                       $________________________________
                                                                       
 American Millennium Insurance Company                                 Check all that apply.

                                                                       
 1044 Route 23 North, STE 103                                              Contingent

                                                                       
 Wayne, NJ, 07470                                                          Unliquidated
                                                                           Disputed

                                                                                            Insurance premium
                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         128,781.80
                                                                                                                       $________________________________
                                                                       
 American Southern Insurance Companies                                 Check all that apply.

                                                                       
 3715 Northside Parkway Building 400, Suite 800                            Contingent

                                                                       
 Atlanta, GA, 30327                                                        Unliquidated
                                                                           Disputed

                                                                                             Insurance premiums
                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 AmeriComp Benefits, Inc.                                                  Contingent

                                                                       
 P O BOX 4319                                                              Unliquidated
 Columbus, GA, 31914                                                       Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 AON Risk Services Inc.                                                Check all that apply.

                                                                       
 P O Box 3870                                                              Contingent

                                                                       
 Little Rock, AR, 72203                                                    Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  24
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 ARM Insurance Agency                                                  Check all that apply.

                                                                       
 4511 Highway 6 N Ste A                                                    Contingent

                                                                       
 Houston, TX, 77084                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 AssuredPartners NL                                                    Check all that apply.

                                                                       
 3000 Meridian Blvd STE 100                                                Contingent

                                                                       
 Franklin, TN, 37067                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Avina's Insurance Services                                            Check all that apply.

                                                                       
 1110 Artesia Blvd Ste. A                                                  Contingent

                                                                       
 Cerritos, CA, 90703                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 B&D Insurance Services                                                    Contingent

                                                                       
 12118 Walnut Park Crossing #1317                                          Unliquidated
 Austin, TX, 78753                                                         Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Bancorp South Insurance Services, Inc.                                Check all that apply.

                                                                       
 8315 Cantrell Road Suite 300                                              Contingent

                                                                       
 Little Rock, AR, 72227                                                    Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  29
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 BankDirect Capital Finance                                            Check all that apply.

                                                                       
 Two Conway Park 150 North Field Drive Suite                               Contingent

                                                                       
 190                                                                       Unliquidated
 Lake Forest, IL, 60045                                                    Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 BankDirect Capital Finance, LLC                                       Check all that apply.

                                                                       
 P.O. Box 660448                                                           Contingent

                                                                       
 Dallas, TX, 75266-0448                                                    Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Belken Insurance Associates                                           Check all that apply.

                                                                       
 8626 Tesoro Drive #310                                                    Contingent

                                                                       
 San Antonio, TX, 78217                                                    Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Ben Spurgin Insurance                                                     Contingent

                                                                       
 2521 Cedar Springs                                                        Unliquidated
 Dallas, TX, 75201                                                         Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Biba Insurance Services Inc                                           Check all that apply.

                                                                       
 17908 Murphy Parkway                                                      Contingent

                                                                       
 Lathrop, CA, 95330                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  34
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Big Rigs Insurance                                                    Check all that apply.

                                                                       
 14510 Vaughn Rd                                                           Contingent

                                                                       
 Molalla, OR, 97038                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Big Truck Agency                                                      Check all that apply.

                                                                       
 2517 Fairway Park Drive Suite 202                                         Contingent

                                                                       
 Houston, TX, 77092                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Bigham Kliewer Chapman & Watts                                        Check all that apply.

                                                                       
 2100 Trimmier Road PO Box 996                                             Contingent

                                                                       
 Killeen, TX, 76540                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Bob White Insurance                                                       Contingent

                                                                       
 PO BOX 73009                                                              Unliquidated
 Houston, TX, 77273                                                        Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Brower Insurance Agency, LLC                                          Check all that apply.

                                                                       
 409 East Monument Ave STE 400                                             Contingent

                                                                       
 Dayton, OH, 45402                                                         Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  39
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Bylsma-Nederveld Agency, Inc.                                         Check all that apply.

                                                                       
 3001 Fuller, N.E.                                                         Contingent

                                                                       
 Grand Rapids, MI, 49505                                                   Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 C. Ferguson Insurance                                                 Check all that apply.

                                                                       
 P.O. Box 1855                                                             Contingent

                                                                       
 Valley Springs, CA, 95252                                                 Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 C.M. Brown & Associates, Inc.                                         Check all that apply.

                                                                       
 P.O.Box 384                                                               Contingent

                                                                       
 Perryville, MO, 63775                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Cal-Valley Insurance Services Inc                                         Contingent

                                                                       
 5070 N. Sixth Street Suite 155                                            Unliquidated
 Fresno, CA, 93710                                                         Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Canal Indemnity Company                                               Check all that apply.

                                                                       
 400 East Stone Ave                                                        Contingent

                                                                       
 Greenville, SC, 29061                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  44
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Canal Insurance Company                                               Check all that apply.

                                                                       
 400 East Stone Avenue                                                     Contingent

                                                                       
 Greenville, SC, 29601                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Capital Premium Finance                                               Check all that apply.

                                                                       
 PO Box 1020                                                               Contingent

                                                                       
 Draper, UT, 84020                                                         Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Capitol Insurance Brokers                                             Check all that apply.

                                                                       
 3820 W.Happy Valley Rd Ste 141                                            Contingent

                                                                       
 Glendale, AZ, 85310                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Capps Insurance Agency                                                    Contingent

                                                                       
 1610 Shadywood Lane                                                       Unliquidated
 Mount Pleasant, TX, 75455                                                 Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Carrier Service Insurance                                             Check all that apply.

                                                                       
 P.O. Box 69000C                                                           Contingent

                                                                       
 Miami, FL, 33269                                                          Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  49
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Cen-Cal Transportation Ins                                            Check all that apply.

                                                                       
 2351 Sunset Blvd. Ste #314                                                Contingent

                                                                       
 Rocklin, CA, 95765                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Centerpoint                                                           Check all that apply.

                                                                       
 11285 Elkins Road, Bldg E                                                 Contingent

                                                                       
 Roswell , GA, 30076                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Centex Transportation Ins. Svc                                        Check all that apply.

                                                                       
 2351 Sunset Blvd. Ste. 314                                                Contingent

                                                                       
 Rocklin, CA, 95765                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Chrome Truck Agency LLC                                                   Contingent

                                                                       
 12220 Eruzione Drive                                                      Unliquidated
 Austin, TX, 78748                                                         Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Chubb & Son, Inc.                                                     Check all that apply.

                                                                       
 5505 N Cumberland Ave, Ste 301                                            Contingent

                                                                       
 Chicago, IL, 60656                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  54
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 CIT                                                                   Check all that apply.

                                                                       
 21146 Network Place                                                       Contingent

                                                                       
 Chicago , IL, 60673-1211                                                  Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Classic Plan Premium Finance                                          Check all that apply.

                                                                       
 PO Box 5146                                                               Contingent

                                                                       
 Chino, CA, 91708-5146                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Cline Wood Agency                                                     Check all that apply.

                                                                       
 4300 West 133rd St                                                        Contingent

                                                                       
 Leawood, KS, 66209                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  57
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 CO Brown Agency Inc                                                       Contingent

                                                                       
 2048 Superior Drive NW                                                    Unliquidated
 Rochester, MN, 55901                                                      Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Cobb County Tax Commissioner                                          Check all that apply.

                                                                       
 P.O. Box 100127                                                           Contingent

                                                                       
 Marietta, GA, 30061-7027                                                  Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  59
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Cobb County Tax Commissioner                                          Check all that apply.

                                                                       
 700 South Cobb Drive                                                      Contingent

                                                                       
 Marietta, GA, 30060-3162                                                  Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Coldwater Insurance Agency Inc                                        Check all that apply.

                                                                       
 613 Austin Street                                                         Contingent

                                                                       
 Levelland, TX, 79336                                                      Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Colonial Insurance                                                    Check all that apply.

                                                                       
 3845 Holcomb Bridge Road Ste 300                                          Contingent

                                                                       
 Norcross, GA, 30092                                                       Unliquidated
                                                                           Disputed

                                                                                             Insurance premiums
                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  62
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Com-Co Insurance Agency                                                   Contingent

                                                                       
 3425 Dempster St                                                          Unliquidated
 Skokie, IL, 60076                                                         Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Comcast                                                               Check all that apply.

                                                                       
 P O Box 530098                                                            Contingent

                                                                       
 Atlanta, GA, 30353-0098                                                   Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  64
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Commercial & Transportation Ins.                                      Check all that apply.

                                                                       
 P.O. Box 361901                                                           Contingent

                                                                       
 Birmingham, AL, 35236                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Commercial Carrier Insurance                                          Check all that apply.

                                                                       
 44 Merrimon Avenue                                                        Contingent

                                                                       
 Ashville, NC, 28801                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Commercial Insurance Associates, LLC                                  Check all that apply.

                                                                       
 103 Powell Court Suite 100                                                Contingent

                                                                       
 Brentwood, TN, 37027                                                      Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Commercial Insurance Solutions                                            Contingent

                                                                       
 P.O. Box 6310                                                             Unliquidated
 East Brunswick, NJ, 08816                                                 Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Commercial Transportation Insurance Services -                        Check all that apply.

                                                                       
 CTIS                                                                      Contingent

                                                                       
 6520 44th Street #300                                                     Unliquidated
 Sacramento, CA, 95823                                                     Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  69
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Commerical Carriers                                                   Check all that apply.

                                                                       
 12641 166th Street                                                        Contingent

                                                                       
 Cerritos, CA, 90703                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Commerical Insurance Services                                         Check all that apply.

                                                                       
 PO DRAWER 26227                                                           Contingent

                                                                       
 Oklahoma City, OK, 73126                                                  Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Compass Insurance Agency                                              Check all that apply.

                                                                       
 PO Box 530350                                                             Contingent

                                                                       
 Birmingham, AL, 35253                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Cook Insurance Group                                                      Contingent

                                                                       
 3333 Lee Parkway Suite 600                                                Unliquidated
 Dallas, TX, 75219                                                         Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Cottingham & Butler                                                   Check all that apply.

                                                                       
 P.O. Box 28                                                               Contingent

                                                                       
 Dubuque , IA, 52004-0028                                                  Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  74
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Cottingham & Butler                                                   Check all that apply.

                                                                       
 800 Main Street PO Box 28                                                 Contingent

                                                                       
 Dubuque, IA, 52004                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  75
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 County Wide Insurance                                                 Check all that apply.

                                                                       
 130 East Stoddard                                                         Contingent

                                                                       
 Dexter, MO, 63841                                                         Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  76
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Craig C Hansen Insurance Servi                                        Check all that apply.

                                                                       
 2103 3rd Street                                                           Contingent

                                                                       
 Eureka, CA, 95501                                                         Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  77
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Crossroads Insurance Services                                             Contingent

                                                                       
 9816 Gilespie St Suite 120                                                Unliquidated
 Las Vegas, NV, 89183                                                      Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  78
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Crum & Forster Insurance Co.                                          Check all that apply.

                                                                       
 305 Madison Avenue                                                        Contingent

                                                                       
 Morristown, NJ, 07962                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  79
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Custom INS Division                                                   Check all that apply.

                                                                       
 404 E Ramsey Suite 210                                                    Contingent

                                                                       
 San Antonio, TX, 78216                                                    Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  80
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Cypress Premium Funding                                               Check all that apply.

                                                                       
 30448 Rancho Viejo Rd STE 100                                             Contingent

                                                                       
 San Juan Capistrano, CA, 92675                                            Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  81
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 D & H Insurance Group                                                 Check all that apply.

                                                                       
 914 Judson Rd                                                             Contingent

                                                                       
 Longview, TX, 75601                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  82
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Dakota Street Insurance                                                   Contingent

                                                                       
 PO Box 202                                                                Unliquidated
 Spring Valley, IL, 61362                                                  Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  83
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 David Baker Insurance                                                 Check all that apply.

                                                                       
 950 S Fry Road                                                            Contingent

                                                                       
 Katy, TX, 77450                                                           Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  84
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Davis Insurance Agency                                                Check all that apply.

                                                                       
 PO BOX 152620                                                             Contingent

                                                                       
 Lufkin, TX, 75915-2620                                                    Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  85
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 De Lage Landen Financial Svcs                                         Check all that apply.

                                                                       
 P.O. Box 41601                                                            Contingent

                                                                       
 Philadelphia, PA, 19101-1601                                              Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  86
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Delaware Secretary of State                                           Check all that apply.

                                                                       
 Division of Corporations P O Box 5509                                     Contingent

                                                                       
 Bingham , NY, 13902-5509                                                  Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  87
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Demoisey Insurance Agency                                                 Contingent

                                                                       
 258 Plaza Drive                                                           Unliquidated
 Lexington, KY, 40503                                                      Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  88
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Department of State                                                   Check all that apply.

                                                                       
 P.O. Box 1500                                                             Contingent

                                                                       
 Tallahassee , FL, 32302-1500                                              Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  89
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Desert West Insurance Agency Inc                                      Check all that apply.

                                                                       
 PO Box 640210                                                             Contingent

                                                                       
 El Paso, TX, 79904                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  90
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Dickson Insurance                                                     Check all that apply.

                                                                       
 PO BOX 40308                                                              Contingent

                                                                       
 Mesa, AZ, 85274                                                           Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  91
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 DMB Truck Insurance LLC                                               Check all that apply.

                                                                       
 PO Box 6423                                                               Contingent

                                                                       
 McKinney, TX, 75071                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  92
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Don-Rick Insurance Inc                                                    Contingent

                                                                       
 313 Oak Street                                                            Unliquidated
 Baraboo, WI, 53913                                                        Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  93
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Donald LaPenna Associates                                             Check all that apply.

                                                                       
 PO BOX 1868                                                               Contingent

                                                                       
 Cranford, NJ, 07016                                                       Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  94
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Eagle National Insurance - USA (HQ)                                   Check all that apply.

                                                                       
 80 SW 8th Street, Suite 2000 Brickell Bayview                             Contingent

                                                                       
 Office Building                                                           Unliquidated
 Miami, FL, 33130                                                          Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  95
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Eastern Insurors, LLC                                                 Check all that apply.

                                                                       
 445 Godwin Avenue                                                         Contingent

                                                                       
 Midland Park, NJ, 07432                                                   Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  96
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Easy Truck Insurance                                                  Check all that apply.

                                                                       
 7635 Clement Rd Ste A                                                     Contingent

                                                                       
 Vacaville, CA, 95688                                                      Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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                                                                                                                          Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  97
3.___ Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                       
                                                                       Check all that apply.                           $________________________________

                                                                       
 Ebix, Inc.                                                                Contingent

                                                                       
 3906 Paysphere Circle                                                     Unliquidated
 Chicago, IL, 60674                                                        Disputed



                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔
                                                                           No
        Date or dates debt was incurred        ___________________
                                                                           Yes
        Last 4 digits of account number        ___________________
  98
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 ECBM                                                                  Check all that apply.

                                                                       
 300 Conshohocken Ste 405                                                  Contingent

                                                                       
 West Conshohocken, PA, 19428                                              Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________
                                                                       ✔   No
                                                                           Yes
        Last 4 digits of account number        ___________________

  99
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Eiyida Solutions                                                      Check all that apply.

                                                                       
 16W277 83rd Street Ste C                                                  Contingent

                                                                       
 Burr Ridge, IL, 60527-7951                                                Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ___________________     ✔   No
                                                                           Yes
        Last 4 digits of account number        __________________
  100
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                       $________________________________
                                                                       
 Elite 4 Truck                                                         Check all that apply.

                                                                       
 1801 South Excise Ave Ste 115                                             Contingent

                                                                       
 Ontario, CA, 91761                                                        Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
                                                                       ✔   No
        Date or dates debt was incurred        ___________________         Yes
        Last 4 digits of account number        ___________________
  101
3.___ Nonpriority creditor’s name and mailing address
                                                                       As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                       $________________________________
                                                                       
 Ellington Insurance Inc                                               Check all that apply.

                                                                       
 121 S Green St                                                            Contingent

                                                                       
 Swainsboro, GA, 30401                                                     Unliquidated
                                                                           Disputed

                                                                       Basis for the claim: ________________________


                                                                       
                                                                       Is the claim subject to offset?

                                                                       
        Date or dates debt was incurred        ____________________    ✔
                                                                           No
                                                                           Yes
        Last 4 digits of account number        ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  102
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Elliott Hartman Agency                                                   Contingent

                                                                      
 611 Ansborough Ave.                                                      Unliquidated
 Waterloo, IA, 50704                                                      Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  103
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Emery & James Ltd                                                    Check all that apply.

                                                                      
 300 E. Morris Ave.                                                       Contingent

                                                                      
 Hammond, LA, 70403                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  104
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Equify Risk Services LLC                                             Check all that apply.

                                                                      
 12222 Merit Drive Suite 1400                                             Contingent

                                                                      
 Dallas, TX, 75251                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  105
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Express Premium Finance Co.                                          Check all that apply.

                                                                      
 PO Box 18836                                                             Contingent

                                                                      
 Oklahoma City, OK, 73154-0836                                            Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  106
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Farris Evans Insurance                                               Check all that apply.

                                                                      
 1568 Union Avenue                                                        Contingent

                                                                      
 Memphis, TN, 38174                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  107
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 FDI Management Group                                                     Contingent

                                                                      
 275 Cumberland Pkwy Ste 246                                              Unliquidated
 Mechanicsburg , PA, 17055                                                Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  108
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 FedEx                                                                Check all that apply.

                                                                      
 P.O. Box 660481                                                          Contingent

                                                                      
 Dallas, TX, 75266-0481                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  109
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Fino Services LLC                                                    Check all that apply.

                                                                      
 6193 Highway Boulevard #205                                              Contingent

                                                                      
 Katy, TX, 77494                                                          Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  110
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 First Insurance Funding                                              Check all that apply.

                                                                      
 450 Skokie Blvd Ste 1000                                                 Contingent

                                                                      
 Northbrook, IL, 60065                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  111
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 First Niagra Risk Management                                         Check all that apply.

                                                                      
 125 Hillvue Lane                                                         Contingent

                                                                      
 Pittsburgh, PA, 15237                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  112
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 First Services Inc                                                       Contingent

                                                                      
 215 Estates Dr Ste 1                                                     Unliquidated
 Roseville, CA, 95678                                                     Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  113
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Fisher & Phillips LLP                                                Check all that apply.

                                                                      
 1075 Peachtree Street, NE Suite 3500                                     Contingent

                                                                      
 Atlanta, GA, 30309                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  114
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Flat Iron Capital                                                    Check all that apply.

                                                                      
 950 17th St Suite 1300                                                   Contingent

                                                                      
 Denver, CO, 80202                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  115
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Fleet Risk Management, Inc.                                          Check all that apply.

                                                                      
 2485 Demere Rd., Suite 100                                               Contingent

                                                                      
 Saint Simons Island, GA, 31522                                           Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  116
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 FleetSeek                                                            Check all that apply.

                                                                      
 500 Lafayette Blvd, Ste. 230                                             Contingent

                                                                      
 Fredericksburg , VA, 22401                                               Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  117
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Florida Commercial Ins Inc                                               Contingent

                                                                      
 1401 SW 21st Lane                                                        Unliquidated
 Boca Raton, FL, 33486                                                    Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  118
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Florida Department of State                                          Check all that apply.

                                                                      
 P.O. Box 6327                                                            Contingent

                                                                      
 Tallahassee , FL, 32314                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  119
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Florida State Underwriters                                           Check all that apply.

                                                                      
 P.O. Box 300986                                                          Contingent

                                                                      
 Fern Park, FL, 32824                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  120
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Fortenberry Insurance Agency                                         Check all that apply.

                                                                      
 P.O. Box 2139                                                            Contingent

                                                                      
 Hewitt, TX, 76643-2139                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  121
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 FP Mailing Solutions                                                 Check all that apply.

                                                                      
 140 N Mitchell Court, ste 200                                            Contingent

                                                                      
 Addison , IL, 60101-5629                                                 Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  122
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Frontier Truck Insurance                                                 Contingent

                                                                      
 6054 Tanana Drive                                                        Unliquidated
 Carmel, IN, 46033                                                        Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  123
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Generazio Associates, Inc.                                           Check all that apply.

                                                                      
 265 Broad Street                                                         Contingent

                                                                      
 Bloomfield, NJ, 07003                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  124
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Georgia Department of Insurance                                      Check all that apply.

                                                                      
 Premium Tax Division P O Box 935134                                      Contingent

                                                                      
 Hapeville , GA, 30354                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  125
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Georgia Department of Labor                                          Check all that apply.

                                                                      
 P.O. Box 200366                                                          Contingent

                                                                      
 Cartersville , GA, 30120                                                 Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  126
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Georgia Department of Revenue                                        Check all that apply.

                                                                      
 P.O. Box 105499                                                          Contingent

                                                                      
 Atlanta, GA, 30348-5499                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  127
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Georgia Department of Revenue                                            Contingent

                                                                      
 Taxpayer Services Division P.O. Box 740321                               Unliquidated
 Atlanta, GA, 30374-0321                                                  Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  128
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Global Associates                                                    Check all that apply.

                                                                      
 20 Highland Ave                                                          Contingent

                                                                      
 Metuchen, NJ, 08840                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  129
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Global Transportation Ins.                                           Check all that apply.

                                                                      
 P.O. Box 5220                                                            Contingent

                                                                      
 Farmington, NM, 87499                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  130
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Good's Insurance                                                     Check all that apply.

                                                                      
 352 E Main St, Ste 200                                                   Contingent

                                                                      
 Leola, PA, 17540                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  131
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Goodman-Baker Insurance                                              Check all that apply.

                                                                      
 3534 E Sunshine Ste Ste H                                                Contingent

                                                                      
 Springfield, MO, 65809                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  132
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Grace Group, Inc.                                                        Contingent

                                                                      
 17709 Cantrell Road                                                      Unliquidated
 Little Rock, AR, 72223                                                   Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  133
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Great Lakes Insurance Assoc.                                         Check all that apply.

                                                                      
 3205 Peach Street                                                        Contingent

                                                                      
 Erie, PA, 16508                                                          Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  134
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hadley & Lyden, Inc.                                                 Check all that apply.

                                                                      
 P.O. Box 700                                                             Contingent

                                                                      
 Winter Park, FL, 32790                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  135
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hancock & Associates, Inc                                            Check all that apply.

                                                                      
 8200 Kingston Pike Suite 21                                              Contingent

                                                                      
 Knoxville, TN, 37919                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  136
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Hanuschak Agency                                                     Check all that apply.

                                                                      
 P.O. Box 7727                                                            Contingent

                                                                      
 Cumberland, RI, 02864                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  137
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Hartley Cylke Pacific Insurance                                          Contingent

                                                                      
 2747 University Ave                                                      Unliquidated
 San Diego, CA, 92104                                                     Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  138
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Hatch Agency                                                         Check all that apply.

                                                                      
 PO BOX 1861                                                              Contingent

                                                                      
 Minnetoka, MN, 55345                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  139
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hawk Agency Inc                                                      Check all that apply.

                                                                      
 7131 Knoxville Ave                                                       Contingent

                                                                      
 Peoria, IL, 61614                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  140
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Haymond Insurance Inc.                                               Check all that apply.

                                                                      
 200 S. Main                                                              Contingent

                                                                      
 Searcy, AR, 72145                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  141
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Hays of Utah Insurance Services                                      Check all that apply.

                                                                      
 170 South Main Street Suite 1000                                         Contingent

                                                                      
 Salt Lake City, UT, 84101                                                Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  142
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Heil and Heil Insurance Agency LLC                                       Contingent

                                                                      
 1250 E Diehl Rd Ste 104                                                  Unliquidated
 Naperville, IL, 60563                                                    Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  143
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Heiser Agency                                                        Check all that apply.

                                                                      
 133 S Main Street                                                        Contingent

                                                                      
 Morton, IL, 61550                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  144
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Heritage Insurance                                                   Check all that apply.

                                                                      
 920 Lily Creek Rd Suite 201                                              Contingent

                                                                      
 Louisville, KY, 40243                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  145
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Heritage Insurance Service                                           Check all that apply.

                                                                      
 920 Lily Creek Rd Suite 201                                              Contingent

                                                                      
 Louisville, KY, 40243                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  146
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 HG Companies & Assurance LLC                                         Check all that apply.

                                                                      
 2045 E Price Rd Ste 7L                                                   Contingent

                                                                      
 Brownsville, TX, 78521                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  147
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Hibbs & Associates                                                       Contingent

                                                                      
 2362 Three Bars Dr                                                       Unliquidated
 Snellville , GA, 30078                                                   Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  148
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Higginbotham                                                         Check all that apply.

                                                                      
 308 W Parkwood Ave #104B                                                 Contingent

                                                                      
 Friendswood , TX, 77546                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  149
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hinson Building Corporation                                          Check all that apply.

                                                                      
 540 48th Street Court East                                               Contingent

                                                                      
 Bradenton , FL, 34208                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  150
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hire Right Solutions                                                 Check all that apply.

                                                                      
 P O Box 847891                                                           Contingent

                                                                      
 Dallas, TX, 75284-7891                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  151
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 HNI Risk Services                                                    Check all that apply.

                                                                      
 16085 West Cleveland Ave                                                 Contingent

                                                                      
 New Berlin, WI, 53151                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  152
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 HNI Truck Group                                                          Contingent

                                                                      
 1621 Colonial Parkway                                                    Unliquidated
 Inverness, IL, 60067                                                     Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  153
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Holmes Murphy & Associates                                           Check all that apply.

                                                                      
 PO BOX 2429                                                              Contingent

                                                                      
 Cedar Rapids, IA, 52406-2429                                             Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  154
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hub Coburn Insurance                                                 Check all that apply.

                                                                      
 PO BOX 1000                                                              Contingent

                                                                      
 Colchester, VT, 05446                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  155
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hub Flynn                                                            Check all that apply.

                                                                      
 1643 24th Street West Suite 21                                           Contingent

                                                                      
 Billings, MT, 59102                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  156
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 HUB Internat'al Transportation                                       Check all that apply.

                                                                      
 P.O. Box 1000                                                            Contingent

                                                                      
 Colchester, VT, 05446                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  157
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Hub International                                                        Contingent

                                                                      
 PO BOX 17346                                                             Unliquidated
 Salt Lake City, UT, 84117                                                Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  158
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Hub International Texas                                              Check all that apply.

                                                                      
 12175 Network Blvd. Suite 100                                            Contingent

                                                                      
 San Antonio, TX, 78249                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  159
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hub Kaufman                                                          Check all that apply.

                                                                      
 P.O. Box 17346                                                           Contingent

                                                                      
 Salt Lake City, UT, 84117                                                Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  160
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Hub Lenhardt Agency                                                  Check all that apply.

                                                                      
 1643 24th Street W, Ste 211                                              Contingent

                                                                      
 Billings, MT, 59102                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  161
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Hubbard Insurance Agency, Inc                                        Check all that apply.

                                                                      
 4574 FM 1960 East                                                        Contingent

                                                                      
 Humble, TX, 77346                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  162
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Hughston Insurance Agency, Inc.                                          Contingent

                                                                      
 46 Cove Circle                                                           Unliquidated
 Brownsville, TX, 78521                                                   Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  163
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Hunt & Associates, Inc.                                              Check all that apply.

                                                                      
 720 North Post Oak Suite 330                                             Contingent

                                                                      
 Houston, TX, 77024                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  164
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 IBEX                                                                 Check all that apply.

                                                                      
 PO Box 224528                                                            Contingent

                                                                      
 Dallas, TX, 75222                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  165
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Impact Finance Corp                                                  Check all that apply.

                                                                      
 P.O. Box 515439                                                          Contingent

                                                                      
 Dallas, TX, 75251-5439                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  166
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Insgroup Inc.                                                        Check all that apply.

                                                                      
 3131 W Alabama Ste 200                                                   Contingent

                                                                      
 Houston, TX, 77098                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  167
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 INSPRO Insurance                                                         Contingent

                                                                      
 P.O. Box 6847                                                            Unliquidated
 Lincoln, NE, 68506                                                       Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  168
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Insurance Brokers of Maryland-                                       Check all that apply.

                                                                      
 PO Box 3767                                                              Contingent

                                                                      
 Hagerstown, MD, 21742-3737                                               Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  169
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Insurance Group Services, Inc.                                       Check all that apply.

                                                                      
 3000 W. Cypress Creek Rd                                                 Contingent

                                                                      
 Fort Lauderdale, FL, 33309                                               Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  170
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Insurance of Mid Cities Agency                                       Check all that apply.

                                                                      
 1235 Cavender Dr #101                                                    Contingent

                                                                      
 Hust, TX, 76053                                                          Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  171
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Insurance Office of America                                          Check all that apply.

                                                                      
 4223 South Pipkin Rd Ste 200                                             Contingent

                                                                      
 Lakeland, FL, 33811                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  172
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Insurance Office of America - MD                                         Contingent

                                                                      
 1407 York Road Ste 312                                                   Unliquidated
 Lutherville Timonium, MD, 21093                                          Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  173
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Insurance Risks Managers of MO                                       Check all that apply.

                                                                      
 425 N New Ballas Rd Ste #175                                             Contingent

                                                                      
 St Louis, MO, 63141                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  174
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Insurance Service Associates                                         Check all that apply.

                                                                      
 1770 Indian Trail Rd Ste #130                                            Contingent

                                                                      
 Norcross, GA, 30093                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  175
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Insurance Service Group                                              Check all that apply.

                                                                      
 P.O. Box 4000                                                            Contingent

                                                                      
 Clinton, TN, 37717                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  176
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Insurepointe of Texas, Inc.                                          Check all that apply.

                                                                      
 2909 Hillcroft Suite 600                                                 Contingent

                                                                      
 Houston, TX, 77057                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  177
3.___ Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                                                                          0.00
                                                                        
                                                                        Check all that apply.                           $________________________________

                                                                        
 Insurica Ins. Management Network                                           Contingent

                                                                        
 1100 NE Loop 410 Ste 200                                                   Unliquidated
 San Antonio, TX, 78209                                                     Disputed



                                                                        Basis for the claim: ________________________


                                                                        
                                                                        Is the claim subject to offset?

                                                                        
                                                                        ✔
                                                                            No
        Date or dates debt was incurred          ___________________
                                                                            Yes
        Last 4 digits of account number          ___________________
  178
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                          0.00
                                                                                                                        $________________________________
                                                                        
 Integrity Transportation Insurance Agency LLC                          Check all that apply.

                                                                        
 14511 Falling Creek Dr.                                                    Contingent

                                                                        
 Houston, TX, 77014                                                         Unliquidated
                                                                            Disputed

                                                                                             Insurance premiums
                                                                        Basis for the claim: ________________________


                                                                        
                                                                        Is the claim subject to offset?

                                                                        
        Date or dates debt was incurred          ___________________
                                                                        ✔   No
                                                                            Yes
        Last 4 digits of account number          ___________________

  179
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                        $________________________________
                                                                        
 Interline Risk Services, Inc.                                          Check all that apply.

                                                                        
 2100 Pooler Parkway                                                        Contingent

                                                                        
 Pooler, GA, 31322                                                          Unliquidated
                                                                            Disputed

                                                                        Basis for the claim: ________________________


                                                                        
                                                                        Is the claim subject to offset?

                                                                        
        Date or dates debt was incurred          ___________________    ✔   No
                                                                            Yes
        Last 4 digits of account number          __________________
  180
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                         0.00
                                                                                                                        $________________________________
                                                                        
 Interstate Insurance Agency                                            Check all that apply.

                                                                        
 PO Box 568944                                                              Contingent

                                                                        
 Orlando, FL, 32856-8944                                                    Unliquidated
                                                                            Disputed

                                                                        Basis for the claim: ________________________


                                                                        
                                                                        Is the claim subject to offset?

                                                                        
                                                                        ✔   No
        Date or dates debt was incurred          ___________________        Yes
        Last 4 digits of account number          ___________________
  181
3.___ Nonpriority creditor’s name and mailing address
                                                                        As of the petition filing date, the claim is:
                                                                                                                          0.00
                                                                                                                        $________________________________
                                                                        
 Interstate Insurance Services Inc.                                     Check all that apply.

                                                                        
 2601 N Del Rosa Ave Suite 114                                              Contingent

                                                                        
 San Bernardino, CA, 92402                                                  Unliquidated
                                                                            Disputed

                                                                        Basis for the claim: ________________________


                                                                        
                                                                        Is the claim subject to offset?

                                                                        
        Date or dates debt was incurred          ____________________   ✔
                                                                            No
                                                                            Yes
        Last 4 digits of account number          ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  182
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Interstate Insurance Services Inc.                                       Contingent

                                                                      
 6101 N Armstrong St.                                                     Unliquidated
 Wichita, KS, 67204                                                       Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  183
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Interstate Motor Carriers Agency, Inc                                Check all that apply.

                                                                      
 PO Box 4500                                                              Contingent

                                                                      
 Freehold, NJ, 07728                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  184
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Interstate Truckers Insurance                                        Check all that apply.

                                                                      
 P.O. Box 8394                                                            Contingent

                                                                      
 Boise, ID, 83707                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  185
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Interstate Trucking Alliance                                         Check all that apply.

                                                                      
 7414 Fossil Hill Dr                                                      Contingent

                                                                      
 Arlington, TX, 76002                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  186
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Intervalley Insurance Services                                       Check all that apply.

                                                                      
 4221 N Fresno Street                                                     Contingent

                                                                      
 Fresno, CA, 93726                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  187
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 IPFS                                                                     Contingent

                                                                      
 5316 Hwy 290 W                                                           Unliquidated
 Suite 310                                                                Disputed
 Austin, TX, 78735


                                                                                           Insurance premiums
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  188
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Island Financial Ins Assoc Inc                                       Check all that apply.

                                                                      
 2815 East Main Avenue                                                    Contingent

                                                                      
 Puyallup, WA, 98372                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  189
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 ISU Stetson-Beemer Insurance                                         Check all that apply.

                                                                      
 PO BOX 7236                                                              Contingent

                                                                      
 Reno, NV, 89510                                                          Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  190
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Italiano Insurance Services                                          Check all that apply.

                                                                      
 PO Box 18425                                                             Contingent

                                                                      
 Tampa, FL, 33679                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  191
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 J. Smith Lanier                                                      Check all that apply.

                                                                      
 P.O. Box 70                                                              Contingent

                                                                      
 West Point, GA, 31833                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  192
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Jagdeep Singh Insurance Agency                                           Contingent

                                                                      
 4185 W Figarden Dr #101                                                  Unliquidated
 Fresno, CA, 93722                                                        Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  193
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 James Brummett Insurance                                             Check all that apply.

                                                                      
 PO Box 606                                                               Contingent

                                                                      
 Oliver Springs, TN, 37840                                                Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  194
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 James Miller Insurance Agency                                        Check all that apply.

                                                                      
 1801 Eastchase Parkway Suite 109                                         Contingent

                                                                      
 Fort Worth, TX, 76120                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  195
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Jane R. Parker                                                       Check all that apply.

                                                                      
 204 Kier Street                                                          Contingent

                                                                      
 New Alexandria , PA, 15670                                               Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  196
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Jeffers Insurance Agency                                             Check all that apply.

                                                                      
 100 NE Loop 410, Ste #1250                                               Contingent

                                                                      
 San Antonio, TX, 78216                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  197
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Jenna Crossley Sanford                                                   Contingent

                                                                      
 14635 Creek Club Dr                                                      Unliquidated
 Alpharetta, GA, 30004                                                    Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  198
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 JLP Insurance Services, LLC                                          Check all that apply.

                                                                      
 3719 Fry Rd. Suite C                                                     Contingent

                                                                      
 Katy, TX, 77449                                                          Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  199
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Jones Truck Insurance Agency                                         Check all that apply.

                                                                      
 P.O. Box 236                                                             Contingent

                                                                      
 Waco, TX, 76703-0236                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  200
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Katy Insurance Agency, Inc.                                          Check all that apply.

                                                                      
 P O Box 597                                                              Contingent

                                                                      
 Katy, TX, 77492                                                          Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  201
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Keisling Insurance                                                   Check all that apply.

                                                                      
 8500 Highway 111 Ste 150                                                 Contingent

                                                                      
 Byrdstown, TN, 38549                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  202
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Kenneth Seiber                                                           Contingent

                                                                      
 10010 Judy Road                                                          Unliquidated
 Lyles, TN, 37098                                                         Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  203
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Kentucky Attorney in Fact                                            Check all that apply.

                                                                      
 314 West Main Street                                                     Contingent

                                                                      
 Frankfort, KY, 40601-1808                                                Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  204
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Keuler Insurance Agency Inc                                          Check all that apply.

                                                                      
 229 High St                                                              Contingent

                                                                      
 Mineral Point, WI, 53565                                                 Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  205
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Keystone Truck Underwriters, LLC                                     Check all that apply.

                                                                      
 702 W. Pitt Street PO Box 640                                            Contingent

                                                                      
 Bedford, PA, 15522                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  206
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 KHD LLC Insurance Services                                           Check all that apply.

                                                                      
 1259 Route 46 East Building One, Suite 125                               Contingent

                                                                      
 Parsippany, NJ, 07054                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  207
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Kiely, Hines & Associates Insurance                                      Contingent

                                                                      
 6100 Dutchmans Lane 10th Floor                                           Unliquidated
 Louisville, KY, 40257                                                    Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  208
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Kinloch Partners, Inc.                                               Check all that apply.

                                                                      
 300 Executive Drive Ste 310                                              Contingent

                                                                      
 West Orange, NJ, 07052                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  209
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Kirby Soar Insurance Agency                                          Check all that apply.

                                                                      
 809 S. Evers Street                                                      Contingent

                                                                      
 Plant City, FL, 33563                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  210
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 KMB Insurance Consultants                                            Check all that apply.

                                                                      
 1150 Johnson Drive                                                       Contingent

                                                                      
 Naperville, IL, 60540                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  211
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Krist Insurance                                                      Check all that apply.

                                                                      
 6600 Westown Pkwy., Suite 250                                            Contingent

                                                                      
 West Des Moines, IA, 50266                                               Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  212
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Kunkel & Associates                                                      Contingent

                                                                      
 401 Data Court                                                           Unliquidated
 Dubuque, IA, 52003                                                       Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  213
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 L Transportation Writers, Inc.                                       Check all that apply.

                                                                      
 405 Oakwood Road 2nd Floor                                               Contingent

                                                                      
 Huntington Station, NY, 11746                                            Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  214
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Latino Truckers Insurance Serv                                       Check all that apply.

                                                                      
 PO BOX 4267                                                              Contingent

                                                                      
 Ontario, CA, 91761                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  215
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 LCIA INC                                                             Check all that apply.

                                                                      
 PO BOX 3043                                                              Contingent

                                                                      
 Kearny, NJ, 07032                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  216
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Leavitt Group                                                        Check all that apply.

                                                                      
 6050 Tacoma Mall Blvd #300                                               Contingent

                                                                      
 Tacoma, WA, 98409                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  217
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Lenhardt Agency, Inc.                                                    Contingent

                                                                      
 Suite 211                                                                Unliquidated
 Billings, MT, 59102                                                      Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  218
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Lexington Insurance Company                                          Check all that apply.

                                                                      
 100 Summer Street, Boston                                                Contingent

                                                                      
 Boston, MA, 02110-2103                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  219
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Liberty Insurance Serviesz, Inc                                      Check all that apply.

                                                                      
 3601 W. Devon Ave Suite 103                                              Contingent

                                                                      
 Chicago, IL, 60659                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  220
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Liberty Truck Insurance                                              Check all that apply.

                                                                      
 401 Daniel Payne Drive                                                   Contingent

                                                                      
 Birmingham, AL, 35214                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  221
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Licona Insurance Group                                               Check all that apply.

                                                                      
 5927 Gateway Blvd W Ste B                                                Contingent

                                                                      
 El Paso, TX, 79925                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  222
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Lighthouse Insurance Group                                               Contingent

                                                                      
 4808 Broadmoor SE                                                        Unliquidated
 Grand Rapids, MI, 49512                                                  Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  223
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Lipscomb & Pitts                                                     Check all that apply.

                                                                      
 2670 Union Avenue                                                        Contingent

                                                                      
 Memphis, TN, 38112                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  224
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 LLC Insurance Agency                                                 Check all that apply.

                                                                      
 4216 N Lincoln Ave                                                       Contingent

                                                                      
 Chicago, IL, 60618                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  225
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       1,116,783.85
                                                                                                                      $________________________________
                                                                      
 Lloyds of London/Tysers                                              Check all that apply.

                                                                      
 9th Floor Beaufort House                                                 Contingent

                                                                      
 15 St Botolph Street                                                     Unliquidated
 London, England, EC3A 7EE                                                Disputed

                                                                                           Insurance premiums
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  226
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Logistics Insurance Concepts                                         Check all that apply.

                                                                      
 1527 W. State Hwy 114 Ste 500-299                                        Contingent

                                                                      
 Grapevine, TX, 76051                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  227
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Lonesource                                                               Contingent

                                                                      
 114 MacKenan Drive Suite 300                                             Unliquidated
 Cary , NC, 27511                                                         Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  228
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Los Robles                                                           Check all that apply.

                                                                      
 2930 E Inland Empire Blvd., St                                           Contingent

                                                                      
 Ontario, CA, 91764                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  229
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Love Insurance Agency                                                Check all that apply.

                                                                      
 34920 Ridge Road                                                         Contingent

                                                                      
 Willoughby, OH, 44094                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  230
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 M&O California Insurance Services, Inc                               Check all that apply.

                                                                      
 6055 E Washington Blvd Ste 1090                                          Contingent

                                                                      
 Los Angeles, CA, 90040                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  231
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 MacKenzie Agency                                                     Check all that apply.

                                                                      
 116 South Third Street                                                   Contingent

                                                                      
 Saint Peter, MN, 56082                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  232
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Mailing Systems of Georgia                                               Contingent

                                                                      
 1710 Cumberland Point Drive Suite 7                                      Unliquidated
 Marietta, GA, 30067                                                      Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  233
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Malone Insurance Services                                            Check all that apply.

                                                                      
 1137 Bordeau Court                                                       Contingent

                                                                      
 Dunwoody , GA, 30338                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  234
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Maple Leaf Insurance Agency Inc                                      Check all that apply.

                                                                      
 6536 Kitsap Way                                                          Contingent

                                                                      
 Bremerton, WA, 98312                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  235
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Marquee Insurance Group                                              Check all that apply.

                                                                      
 1000 Holcomb Woods Pkwy Building 300 - Suite                             Contingent

                                                                      
 315A                                                                     Unliquidated
 Roswell, GA, 30076                                                       Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  236
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Marshall Insurance Agency, Inc                                       Check all that apply.

                                                                      
 1623 21st Ste Suite A                                                    Contingent

                                                                      
 Springfield, OR, 97477                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  237
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Martin & Harrill, Inc.                                                   Contingent

                                                                      
 221 W. Eleventh Street                                                   Unliquidated
 Charlotte, NC, 28202                                                     Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  238
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Marvin Johnson                                                       Check all that apply.

                                                                      
 PO BOX 1849                                                              Contingent

                                                                      
 Columbus, IN, 47202                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  239
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Mass Insurance Agency                                                Check all that apply.

                                                                      
 7300 F Street                                                            Contingent

                                                                      
 Omaha, NE                                                                Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  240
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Massachusetts Mutual Life Ins                                        Check all that apply.

                                                                      
 Dept #2560                                                               Contingent

                                                                      
 Los Angeles , CA, 90084-2560                                             Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  241
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Massey Insurance Services                                            Check all that apply.

                                                                      
 16000 Apple Valley Rd Ste C-2                                            Contingent

                                                                      
 Apple Valley, CA, 92307                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  242
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 MassMutual Financial Group                                               Contingent

                                                                      
 Policy Loans P O Box 75045                                               Unliquidated
 Charlotte , NC, 28275-0045                                               Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  243
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Matrix Insurance Group                                               Check all that apply.

                                                                      
 Suite 104                                                                Contingent

                                                                      
 Aventura, FL, 33180                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  244
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Maulding & Associates                                                Check all that apply.

                                                                      
 P.O. Box 320549                                                          Contingent

                                                                      
 Jackson, MS                                                              Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  245
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Maverick Truck Insurance                                             Check all that apply.

                                                                      
 5840 West I20 Suite #201                                                 Contingent

                                                                      
 Arlington, TX, 76017                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  246
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 McDonald Insurance                                                   Check all that apply.

                                                                      
 90 Whitlock Place                                                        Contingent

                                                                      
 Marietta, GA, 30064                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  247
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Menard, Gates, and Mathis                                                Contingent

                                                                      
 6401 Poplar Ave Ste 250                                                  Unliquidated
 Memphis, TN, 38119-4688                                                  Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  248
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Meridian Insurance Group                                             Check all that apply.

                                                                      
 4555 Mansell Road Suite 250                                              Contingent

                                                                      
 Alpharetta, GA, 30022                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  249
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 MGA Insurers, Inc                                                    Check all that apply.

                                                                      
 2225 Enterprise Drive Suite 2513                                         Contingent

                                                                      
 Westchester, IL, 60154                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  250
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Mid South Insurance Agency Inc                                       Check all that apply.

                                                                      
 P.O. Box 457                                                             Contingent

                                                                      
 Corning, AR, 72422                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  251
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Millenium Insurance Services                                         Check all that apply.

                                                                      
 8301 Broadway Suite 405                                                  Contingent

                                                                      
 San Antonio, TX, 78209                                                   Unliquidated
                                                                          Disputed

                                                                                            Insurance premium
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  252
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Milner, Inc.                                                             Contingent

                                                                      
 P.O. Box 923197                                                          Unliquidated
 Norcross, GA, 30010-3197                                                 Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  253
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 MJ Insurance                                                         Check all that apply.

                                                                      
 9225 Priority Way West Drive                                             Contingent

                                                                      
 Indianapolis, TN, 46240                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  254
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Mulligan Insurance Agency, Inc                                       Check all that apply.

                                                                      
 5114 Highway 33-34                                                       Contingent

                                                                      
 Farmingdale, NJ, 07727                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  255
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Multi Printing Solutions, Inc.                                       Check all that apply.

                                                                      
 8113 S. Lemont Rd                                                        Contingent

                                                                      
 Darien , IL, 60561-1755                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  256
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 National Online Registries, LLC                                      Check all that apply.

                                                                      
 P O Box 419317                                                           Contingent

                                                                      
 Kansas City , MO, 64141-6317                                             Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  257
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 New York Marine and General Insurance                                    Contingent

                                                                      
 Company                                                                  Unliquidated
 c/o Gary Marsh, Dentons US, LLP                                          Disputed
 303 Peachtree Street, NE, Suite 5300
 Atlanta, GA, 30308

                                                                                           Same as ProSight Specialty
                                                                      Basis for the claim: ________________________            Management Company, Inc.;

                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  258
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 NFP Property & Casualty                                              Check all that apply.

                                                                      
 1050 Wigwam Pkwy. #110                                                   Contingent

                                                                      
 Henderson, NV, 89074                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  259
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Nicky's Insurance Agency, Inc                                        Check all that apply.

                                                                      
 806 Del Oro Lane                                                         Contingent

                                                                      
 Pharr, TX, 78577                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  260
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 North Country Insurance                                              Check all that apply.

                                                                      
 8800 SE Sunnyside Rd. 16621 N 91st St Ste                                Contingent

                                                                      
 103                                                                      Unliquidated
 Scottsdale, AZ, 85255                                                    Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  261
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Orbis Insurance                                                      Check all that apply.

                                                                      
 5800 NW 74th Ave                                                         Contingent

                                                                      
 Miami, FL, 33166                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  262
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 OVIA Insurance Services                                                  Contingent

                                                                      
 1809 Banks Road                                                          Unliquidated
 Pompano Beach, FL, 33063                                                 Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  263
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Palomar Insurance                                                    Check all that apply.

                                                                      
 P.O. Box 11128                                                           Contingent

                                                                      
 Montgomery, AL, 36111-0128                                               Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  264
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Peoples Insurance Agency                                             Check all that apply.

                                                                      
 PO BOX 119                                                               Contingent

                                                                      
 Waverly , IA, 50677                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  265
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 PJC Insurance                                                        Check all that apply.

                                                                      
 P.O. Box 9750                                                            Contingent

                                                                      
 Springfield, MO, 65801-9750                                              Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  266
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Premium Assignment Corp                                              Check all that apply.

                                                                      
 PO BOX 3066                                                              Contingent

                                                                      
 Talahassee, FL, 32315-3066                                               Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  267
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Prime Insurance Company                                                  Contingent

                                                                      
 8722 South Harrison St                                                   Unliquidated
 Sandy, UT, 84070                                                         Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  268
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        12,088.65
                                                                                                                      $________________________________
                                                                      
 Professional Safety Consultants                                      Check all that apply.

                                                                      
 221 Victory Lane Suite 100                                               Contingent

                                                                      
 Lincoln, NE, 68528                                                       Unliquidated
                                                                          Disputed

                                                                                           Insurance premiums
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  269
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Propel Insurance                                                     Check all that apply.

                                                                      
 2045 Cardinal Ave, Ste 300                                               Contingent

                                                                      
 Medford, OR, 97504                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  270
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       5,188,554.33
                                                                                                                      $________________________________
                                                                      
 ProSight Specialty                                                   Check all that apply.

                                                                      
 12 Mount Kemble Ave                                                      Contingent

                                                                      
 Suite 300C                                                               Unliquidated
 Morristown, NJ, 07960                                                    Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  271
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Regions Insurance                                                    Check all that apply.

                                                                      
 PO BOX 3198                                                              Contingent

                                                                      
 Little Rock, AR, 72203                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  272
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Reliance Partners                                                        Contingent

                                                                      
 325 Market Street Suite 205                                              Unliquidated
 Chattanooga, TN, 37402                                                   Disputed



                                                                                           Insurance premium
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  273
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Rich Insruance Services                                              Check all that apply.

                                                                      
 105 South 3rd Street                                                     Contingent

                                                                      
 Cabot , AR, 72023                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  274
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 RIS Insurance Services                                               Check all that apply.

                                                                      
 841 N Central Ave Ste C232                                               Contingent

                                                                      
 Kent, WA, 98032                                                          Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  275
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       52,000.00
                                                                                                                      $________________________________
                                                                      
 Risk Placement Services                                              Check all that apply.

                                                                      
 33719 Treasury Center                                                    Contingent

                                                                      
 Chicago, IL, 60694-3700                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  276
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 RJS Insurance Services, Inc.                                         Check all that apply.

                                                                      
 27782 El Lazo                                                            Contingent

                                                                      
 Laguna Niguel, CA, 92677                                                 Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  277
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Rodriguez Insurance Agency                                               Contingent

                                                                      
 13111 North Central Expressway Ste 8001                                  Unliquidated
 Dallas, TX, 75243                                                        Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  278
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 RRL Insurance Agecny                                                 Check all that apply.

                                                                      
 35000 Kaiser Court Suite 300                                             Contingent

                                                                      
 Willoughby, OH, 44094                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  279
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Saver Insurance Agency                                               Check all that apply.

                                                                      
 1415 Molson Lake Dr                                                      Contingent

                                                                      
 Leander, TX, 78641                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  280
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       266,347.94
                                                                                                                      $________________________________
                                                                      
 SC&F Specialty Underwriters                                          Check all that apply.

                                                                      
 160 Water Street                                                         Contingent

                                                                      
 16th Floor                                                               Unliquidated
 New York, NY, 10038-4922                                                 Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  281
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Schoolar & Associates                                                Check all that apply.

                                                                      
 P.O. Box 967                                                             Contingent

                                                                      
 Jemison, AL, 35085                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  282
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Sebrite Agency, Inc.                                                     Contingent

                                                                      
 5421 Feltl Road Suite 140                                                Unliquidated
 Hopkins, MN, 55343                                                       Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  283
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Securance Corporation Agency                                         Check all that apply.

                                                                      
 P.O. Box 420390                                                          Contingent

                                                                      
 Houston, TX, 77242-0390                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  284
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 South Carolina Department                                            Check all that apply.

                                                                      
 Post Office Box 100105                                                   Contingent

                                                                      
 Columbia, SC, 29202-3105                                                 Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  285
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Southern Insurance Specialist                                        Check all that apply.

                                                                      
 PO BOX 2116                                                              Contingent

                                                                      
 Ridgeland, MS, 39158-2116                                                Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  286
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 State Comptroller - Texas                                            Check all that apply.

                                                                      
 PO Box 149348                                                            Contingent

                                                                      
 Austin , TX, 78714-9348                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  287
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 State Tax Commission                                                     Contingent

                                                                      
 P.O. Box 23050                                                           Unliquidated
 Jackson, MS, 39225-3050                                                  Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  288
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Stephens Insurance LLC                                               Check all that apply.

                                                                      
 140 Township Avenue Ste 202                                              Contingent

                                                                      
 Ridgeland, MS, 39157                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  289
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Sterling Risk Advisors                                               Check all that apply.

                                                                      
 2500 Cumberland Pkwy Ste 400                                             Contingent

                                                                      
 Atlanta, GA, 30339                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  290
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Stonemark, Inc.                                                      Check all that apply.

                                                                      
                                                                          Contingent

                                                                      
                                                                          Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  291
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Sunbelt Insurance Group                                              Check all that apply.

                                                                      
 114 Lee Pkwy Drive                                                       Contingent

                                                                      
 Chattanooga, TN, 37421                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  292
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Supportive Insurance Services                                            Contingent

                                                                      
 1610 South Old Decker Road                                               Unliquidated
 Vincennes , IN, 47591                                                    Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  293
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 SWZ Insurance                                                        Check all that apply.

                                                                      
 295 E Renfro #211                                                        Contingent

                                                                      
 Burleson, TX, 76028                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  294
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       8,225.54
                                                                                                                      $________________________________
                                                                      
 Synovus Bank                                                         Check all that apply.

                                                                      
 PO Box 23061                                                             Contingent

                                                                      
 Columbus, GA, 31902-3061                                                 Unliquidated
                                                                          Disputed

                                                                                           Credit Card Debt
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
                                              6250
  295
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 T.I.S. Ltd.                                                          Check all that apply.

                                                                      
 PO Box 740                                                               Contingent

                                                                      
 Weyauwega, WI, 54983                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  296
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 TC Insurance Services                                                Check all that apply.

                                                                      
 1050 Wigwam Pkwy, Suite 110                                              Contingent

                                                                      
 Henderson, NV, 89074                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  297
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Texas Dept of Insurance                                                  Contingent

                                                                      
 Attn: Co Licensing and Reg Off, DIV 50561 P O                            Unliquidated
 Box 149104                                                               Disputed
 Austin , TX, 78714-9104


                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  298
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Texas Truck                                                          Check all that apply.

                                                                      
 2113 Greenbriar Dr                                                       Contingent

                                                                      
 Southlake, TX, 76092                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  299
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 The Buckner Company                                                  Check all that apply.

                                                                      
 6550 S. Millrock Drive Ste 300                                           Contingent

                                                                      
 Salt Lake City, UT, 84121                                                Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  300
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 The Hilb Group of Texas, LLC                                         Check all that apply.

                                                                      
 777 E. Sonterra Blvd Ste 330                                             Contingent

                                                                      
 San Antonio, TX, 78258                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  301
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Thomson Reuters Inc                                                  Check all that apply.

                                                                      
 P O Box 417175                                                           Contingent

                                                                      
 Boston , MA, 02241-7175                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  302
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Transport Services Group, LLC                                            Contingent

                                                                      
 3940 Werrington Drive                                                    Unliquidated
 Cumming, GA, 30040                                                       Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  303
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Transport South Insurancy Agency, LLC                                Check all that apply.

                                                                      
 1255 Roberts Blvd Ste 102                                                Contingent

                                                                      
 Kennesaw, GA, 30144                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  304
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 TRICOR Inc                                                           Check all that apply.

                                                                      
 230 W Cherry Street                                                      Contingent

                                                                      
 Lancaster, WI, 53813                                                     Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  305
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Trinity Insurance Services LLC                                       Check all that apply.

                                                                      
 PO Box 439                                                               Contingent

                                                                      
 Clarkson, KY, 42726                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  306
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Triumph Insurance                                                    Check all that apply.

                                                                      
 3 Park Central, Suite 1700 12700 Park Central                            Contingent

                                                                      
 Drive                                                                    Unliquidated
 Dallas, TX, 75251                                                        Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  307
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 Troutman Sanders LLP                                                     Contingent

                                                                      
 P.O. Box 933652                                                          Unliquidated
 Atlanta, GA, 31193-3652                                                  Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  308
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Truck Insurance Specialists                                          Check all that apply.

                                                                      
 3006 Gill Street Suite D                                                 Contingent

                                                                      
 Bloomington, IL, 67104                                                   Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  309
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Truckers Insurance                                                   Check all that apply.

                                                                      
 400 West Expressway                                                      Contingent

                                                                      
 San Juan, TX, 78589                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  310
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Trucking Specialist LLC                                              Check all that apply.

                                                                      
 425 4th Street SC Suite 802 Box 39                                       Contingent

                                                                      
 Cedar Rapids, IA, 52401                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  311
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Truckline Insurance Grp, LLC / T.D. Hawks                            Check all that apply.

                                                                      
 120 E. 9TH Street                                                        Contingent

                                                                      
 Dubuque, IA, 52001                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  312
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 True North Companies                                                     Contingent

                                                                      
 500 1st St. SE                                                           Unliquidated
 Cedar Rapids, IA, 52401                                                  Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  313
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Turner & Hamrick                                                     Check all that apply.

                                                                      
 P.O. Box 985                                                             Contingent

                                                                      
 Troy , AL, 36081                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  314
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 TWI Agency Inc                                                       Check all that apply.

                                                                      
 600 S Tyler St                                                           Contingent

                                                                      
 Amarillo, TX, 79101                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  315
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 U.S. E&O Brokers                                                     Check all that apply.

                                                                      
 820 Gessner Road, Suite 1360                                             Contingent

                                                                      
 Houston, TX, 77024-4461                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  316
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 U.S. Premium Finance                                                 Check all that apply.

                                                                      
 280 Technology Parkway                                                   Contingent

                                                                      
 Suite 200                                                                Unliquidated
 Norcross, GA, 30092                                                      Disputed

                                                                                            Insurance premiums
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  317
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 UPS                                                                      Contingent

                                                                      
 P.O. Box 7247-0244                                                       Unliquidated
 Philadelphia, PA, 19170-0001                                             Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  318
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 US Insurance Source                                                  Check all that apply.

                                                                      
 22327 Gosling Road                                                       Contingent

                                                                      
 Spring, TX, 77389                                                        Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  319
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 US Premium Finance                                                   Check all that apply.

                                                                      
 3169 Holcomb Bridge Road Ste 150                                         Contingent

                                                                      
 Norcross, GA, 30071                                                      Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  320
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 USA Specialty Insurance LLC                                          Check all that apply.

                                                                      
 5246 SW 8th St STE 102-A                                                 Contingent

                                                                      
 Miami, FL, 33134                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  321
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 USI Southwest                                                        Check all that apply.

                                                                      
 1340 W. Tunnel Blvd, Suite 110                                           Contingent

                                                                      
 Houma, LA, 70360                                                         Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




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  322
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 USI Transportation                                                       Contingent

                                                                      
 2021 Spring Road, Suite 100                                              Unliquidated
 Oak Brook, IL, 60523                                                     Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  323
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 Various - see attached for SoFA #3                                   Check all that apply.

                                                                      
                                                                          Contingent

                                                                      
                                                                          Unliquidated
                                                                          Disputed

                                                                                           See attached
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  324
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Vertafore/CIS Solutions                                              Check all that apply.

                                                                      
 27384 Network Place                                                      Contingent

                                                                      
 Holtsville , NY, 60673-1273                                              Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  325
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Volmert & Associates                                                 Check all that apply.

                                                                      
 3023 South University Drive #208                                         Contingent

                                                                      
 Fort Worth, TX, 76109                                                    Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  326
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 West Virginia Ins Commisioner                                        Check all that apply.

                                                                      
 PO Box 2153                                                              Contingent

                                                                      
 Charleston , WV, 25328-2153                                              Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                  66 of ___
                                                                                                                                                         69
              Case   18-58406-sms
                American                         Doc 1
                         Underwriting Services, LLC       Filed 05/18/18 Entered 05/18/18 18:27:41 Desc Main
  Debtor         _______________________________________________________         Case number (if known)_____________________________________
                 Name                                    Document     Page 86 of 139
Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  327
3.___ Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                      
                                                                      Check all that apply.                           $________________________________

                                                                      
 WGI/Stonebriar                                                           Contingent

                                                                      
 16935 W Bernardo Dr Suite 100                                            Unliquidated
 San Diego, CA, 92127                                                     Disputed



                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔
                                                                          No
        Date or dates debt was incurred       ___________________
                                                                          Yes
        Last 4 digits of account number       ___________________
  328
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 White Wolf Insurance                                                 Check all that apply.

                                                                      
 2406 S Jupiter Rd STE 4                                                  Contingent

                                                                      
 Garland, TX, 75041                                                       Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________
                                                                      ✔   No
                                                                          Yes
        Last 4 digits of account number       ___________________

  329
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       1,478.50
                                                                                                                      $________________________________
                                                                      
 Willcomply, LLC                                                      Check all that apply.

                                                                      
 3700 Park East Drive, Suite 250                                          Contingent

                                                                      
 Beachwood, OH, 44122                                                     Unliquidated
                                                                          Disputed

                                                                                           Insurance premium
                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ___________________     ✔   No
                                                                          Yes
        Last 4 digits of account number       __________________
  330
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                       0.00
                                                                                                                      $________________________________
                                                                      
 Windham Brannon, PC                                                  Check all that apply.

                                                                      
 3630 Peachtree Road NE Suite 600                                         Contingent

                                                                      
 Atlanta, GA, 30326-1543                                                  Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
                                                                      ✔   No
        Date or dates debt was incurred       ___________________         Yes
        Last 4 digits of account number       ___________________
  331
3.___ Nonpriority creditor’s name and mailing address
                                                                      As of the petition filing date, the claim is:
                                                                                                                        0.00
                                                                                                                      $________________________________
                                                                      
 WNC, LLC                                                             Check all that apply.

                                                                      
 2900 Delk Road Ste 700 PMB 252                                           Contingent

                                                                      
 Marietta, GA, 30067-5350                                                 Unliquidated
                                                                          Disputed

                                                                      Basis for the claim: ________________________


                                                                      
                                                                      Is the claim subject to offset?

                                                                      
        Date or dates debt was incurred       ____________________    ✔
                                                                          No
                                                                          Yes
        Last 4 digits of account number       ___________________




    Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                           page __
                                                                                                                                                  67 of ___
                                                                                                                                                         69
                 Case   18-58406-sms
                  American                          Doc 1
                           Underwriting Services, LLC          Filed 05/18/18 Entered 05/18/18 18:27:41 Desc Main
     Debtor         _______________________________________________________           Case number (if known)_____________________________________
                    Name                                      Document     Page 87 of 139
Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Gary W. Marsh, Esq., Dentons US, LLP
4.1.      303 Peachtree Street NE, Suite 5300                                                       3.270
                                                                                               Line _____

                                                                                               
          Atlanta, GA, 30308                                                                                                                    ________________
                                                                                                     Not listed. Explain:


4.2.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __
                                                                                                                                                                68 of ___
                                                                                                                                                                       69
            Case   18-58406-sms
             American                          Doc 1
                      Underwriting Services, LLC        Filed 05/18/18 Entered 05/18/18 18:27:41 Desc Main
 Debtor        _______________________________________________________         Case number (if known)_____________________________________
               Name                                    Document     Page 88 of 139
Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                            Total of claim amounts



5a. Total claims from Part 1                                                                     5a.
                                                                                                              0.00
                                                                                                            $_____________________________




5b. Total claims from Part 2                                                                     5b.   +      8,386,876.80
                                                                                                            $_____________________________




5c. Total of Parts 1 and 2                                                                                    8,386,876.80
                                                                                                 5c.        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page __
                                                                                                                                          69 of ___
                                                                                                                                                 69
             Case 18-58406-sms                  Doc 1       Filed 05/18/18 Entered 05/18/18 18:27:41                                 Desc Main
                                                           Document     Page 89 of 139
 Fill in this information to identify the case:

             American Underwriting Services, LLC
 Debtor name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the:_____________________________

 Case number (If known):     _________________________                        11
                                                                      Chapter _____



                                                                                                                                          Check if this is an
                                                                                                                                             amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       
       
            No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease
                                         To be supplemented                               To be supplemented
           State what the contract or
 2.1       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract

                                         Lease for 1255 Roberts Blvd., Suite              Roberts Blvd, LLC
           State what the contract or    102, Kennesaw, GA, 30144                         P.O. Box 360566
 2.2       lease is for and the nature
           of the debtor’s interest      Lessee                                           Birmingham, AL, 35236

           State the term remaining      48 months
           List the contract number of
           any government contract


           State what the contract or
 2.3       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.4
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.5       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract




Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                               page 1 of ___
            Case 18-58406-sms                   Doc 1      Filed 05/18/18 Entered 05/18/18 18:27:41                                  Desc Main
                                                          Document     Page 90 of 139
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             American Underwriting Services, LLC

                                         Northern District of Georgia
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:
                                     James Russell Wiley
 2.1     James Russell Wiley
         _____________________                                                                           Synovus    Bank
                                                                                                          _____________________               D
                                                                                                                                             
                                     6201 Arnall Ct.                                                                                         ✔ E/F
                                     Acworth, GA, 30101                                                                                       G




                                     James Russell Wiley
                                                                                                                                              D
 2.2     James Russell Wiley
         _____________________                                                                           US  Premium Finance
                                                                                                          _____________________
                                                                                                                                             
                               6201      Arnall Ct.
                                                                                                                                             ✔ E/F

                                                                                                                                              G
                                     Acworth, GA, 30101



                                     James Russell Wiley
                                                                                                                                              D
 2.3
         James Russell Wiley6201
         _____________________           Arnall Ct.                                                       U.S.  Premium Finance
                                                                                                           _____________________
                                                                                                                                             
                                                                                                                                             ✔ E/F
                                                                                                                                              G
                                     Acworth, GA, 30101




                                                                                                                                              D
 2.4
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




                                                                                                                                              D
 2.5
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




                                                                                                                                              D
 2.6
         _____________________                                                                             _____________________
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
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                                          United States Bankruptcy Court
IN RE:                                                              Case No.__________________
American Underwriting Services, LLC
__________________________________________________________ Chapter 11_________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder   Shares              Security Class
                                                             (Or Percentage)     (or kind of interest)

 The Wiley Group, Inc.                                       100%                Managing member
 1255 Roberts Blvd. Suite 102, Kennesaw, GA 30144
          Case 18-58406-sms                     Doc 1    Filed 05/18/18 Entered 05/18/18 18:27:41                               Desc Main
                                                        Document     Page 92 of 139
 Fill in this information to identify the case and this filing:

              American Underwriting Services, LLC
 Debtor Name __________________________________________________________________

                                         Northern District of Georgia
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


              Other document that requires a declaration______List of Equity Security Holders_______________________________________________________




                                                            /s/ James Russell Wiley
        I declare under penalty of perjury that the foregoing is true and correct.


                    05/18/2018
        Executed on ______________                             _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  James Russell Wiley
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Sole SH of The Wiley Group, Inc., Manager
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
           Case 18-58406-sms                   Doc 1       Filed 05/18/18 Entered 05/18/18 18:27:41                                Desc Main
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Fill in this information to identify the case:
             American Underwriting Services, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Northern District of Georgia District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                    Gross revenue
            may be a calendar year                                                            Check all that apply                  (before deductions and
                                                                                                                                    exclusions)

                                                                                               
                                                                                               
           From the beginning of the                                                           ✔   Operating a business
                                                 01/01/2018                                                                                  1,472,769.00
                                                                                                                                    $_____________________
           fiscal year to filing date:     From ___________         to     Filing date             Other _______________________
                                                  MM / DD / YYYY


                                                                           12/31/2017          
                                                                                               
           For prior year:                       01/01/2017
                                           From ___________         to     ___________         ✔   Operating a business                      4,430,551.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $_____________________
                                                                                                   Other _______________________

                                                 01/01/2016                12/31/2016          
                                                                                               
           For the year before that:       From ___________         to     ___________         ✔   Operating a business                      3,916,583.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                   Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue     Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the
                                                                                              ___________________________          $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
             Case 18-58406-sms               Doc 1      Filed 05/18/18 Entered 05/18/18 18:27:41                                   Desc Main
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                 American Underwriting Services, LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply

                                                                                                            
     3.1.



                                                                                                            
              AON Risk Services Inc.
             __________________________________________       ________         19,685.75
                                                                              $_________________                  Secured debt
             Creditor’s name


                                                                                                            
                                                                                                                  Unsecured loan repayments
              P O Box 3870

                                                                                                            
              Little Rock, AR 72203                           ________                                            Suppliers or vendors



                                                                                                            
                                                                                                                  Services
                                                              ________                                      ✔     Other _______________________________



                                                                                                            
     3.2.



                                                                                                            
                                                            2/12/2018
                                                              ________         14,433.90
                                                                              $_________________                  Secured debt
              Millenium Insurance Services
             __________________________________________
             Creditor’s name

                                                                                                            
                                                                                                                  Unsecured loan repayments
              8301 Broadway Suite 405

                                                                                                            
              San Antonio, TX 78209                           ________                                            Suppliers or vendors



                                                                                                            
                                                                                                                  Services
                                           See attachments.
                                                              ________                                      ✔            Other
                                                                                                                  Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
     4.1.
             Neil P. Wiley
             __________________________________________ 05/2018
                                                         _________             158,000.00
                                                                             $__________________           Buyout payments - see attached.
             Insider’s name
             3558 Langley Oaks Ct.                         04/2018
                                                            _________
             Marietta, GA 30067
                                                           03/2018
                                                            _________


             Relationship to debtor
              Relative of sole SH of sole Member
             __________________________________________



     4.2.    Kevin Wiley
             __________________________________________
             Insider’s name
                                                           05/2018
                                                            _________          56,283.09
                                                                             $__________________           Wages and reimbursement of
             4706 Buckskin Trail
             Lilburn, GA 30047                                                                             expenses - see attached.
                                                           04/2018
                                                            _________

                                                           03/2018
                                                            _________




                                                                         See attachments
             Relationship to debtor
             Relative of sole SH of sole Member
             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
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                 American Underwriting Services, LLC
Debtor           _______________________________________________________                             Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
           None
            Creditor’s name and address                           Description of the property                               Date              Value of property
     5.1.
            New  York Marine and General Insurance CompanyGarnishments (funds under four different
            __________________________________________
                                                                                                                            03/08/2018
                                                                                                                            ______________       448,000.00
                                                                                                                                               $___________
                                                          garnishments were turned over to the State
            Creditor’s name
                                                          Court of Gwinnett County by Debtor's bank; at
            c/o Gary Marsh, Dentons US, LLP
                                                          least $174,003.42 was turned over to
            303 Peachtree Street, NE, Suite 5300
                                                          ProSight/NY Marine & General Insurance Co.
            Atlanta, GA 30308
                                                          on 3/8/2018)


     5.2.
            ProSight Specialty
            __________________________________________           Garnishments (funds under four different
                                                                                                                            03/08/2018
                                                                                                                            _______________       448,000.00
                                                                                                                                                $___________
            Creditor’s name                                      garnishments were turned over to the State
            12 Mount Kemble Ave                                  Court of Gwinnett County by Debtor's bank; at
            Suite 300C                                           least $174,003.42 was turned over to
            Morristown, NJ 07960                                 ProSight/NY Marine & General Insurance Co.
                                                                 on 3/8/2018)



 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                            Description of the action creditor took                 Date action was      Amount
                                                                                                                            taken

             __________________________________________                                                                    _______________     $___________
             Creditor’s name




                                                                  Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                 Nature of case                           Court or agency’s name and address             Status of case

                                                                                                                                               
            Prosight Speciality Mgt Co., Inc., et al.                                           State Court of Gwinnett County, Georgia
     7.1.   v. Am. Underwriting Serv., LLC; Bank        Garnishment                                                                            ✔
                                                                                                                                               
                                                                                                                                                   Pending
            of N. Ga, a Div. of Synovus Bank,

                                                                                                                                               
                                                                                                                                                   On appeal
            Garnishee
             Case number                                                                                                                           Concluded


      18-GC-00073-0
             _________________________________

             Case title                                                                          Court or agency’s name and address
                                                                                                                                               
                                                                                                                                               ✔
                                                                                                                                               
                                                                                                State Court of Gwinnett County, Georgia            Pending
     7.2.
            Prosight Speciality Mgt Co., Inc., et al.
            v. American Underwriting Services,
                                                                                                                                               
                                                                                                                                                   On appeal
            LLC; Bank of North Georgia, a Division
                                                                                                                                                   Concluded
             Case number                                Garnishment

      18-GC-00299                                                                See attachments
             _________________________________


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                 American Underwriting Services, LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


            __________________________________________                                                                       _________________   $__________
     9.1.
            Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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                American Underwriting Services, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Small Herrin, LLP
            __________________________________________
   11.1.                                                                                                                 05/18/2018
                                                                                                                         ______________        23,702.00
                                                                                                                                             $_________
            Address

            Two Paces West, Suite 200
            2727 Paces Ferry Road
            Atlanta, GA 30339




            Email or website address
            www.smallherrin.com
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Scroggins & Williamson, PC
            __________________________________________
   11.2.                                                                                                                 11/30/2017
                                                                                                                         ______________        7,700.00
                                                                                                                                             $_________
            Address
            4401 Northside Parkway
            Suite 450
            Atlanta, GA 30327


            Email or website address


            www.swlawfirm.com
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value


                                                               Money                                                      01/31/2018            4,287,417.10
   13.1.     See attached
            __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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                 American Underwriting Services, LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔
     
           No. Go to Part 9.
           Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                          
                                                                                                                                          
                                                                                                                                              Electronically
                                                                                                                                              Paper

                                                             Nature of the business operation, including type of services the             If debtor provides meals
            Facility name and address                        debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     
           No.
     ✔                                                                      Drivers licenses for truck drivers
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                 
                 
                     No
                 ✔   Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                 
                 
                     No. Go to Part 10.
                     Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                     
                     
                            No
                            Yes



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Debtor            American Underwriting Services, LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account               Date account was       Last balance
                                                           number                                                        closed, sold, moved,   before closing or
                                                                                                                         or transferred         transfer

             Bank of North Georgia, a division of Synovus XXXX–__________                  
                                                                                           ✔ Checking
                                                                                            Savings
   18.1.     ______________________________________            8197                                                      Unknown
                                                                                                                         ___________________     $__________
                                                                                                                                                   100.00
            Name


                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

                                                                                           
                                                                                           ✔ Checking
                                                                                            Savings
   18.2.     Bank of North Georgia, a division of Synovus XXXX–__________
             ______________________________________            8189                                                      Unknown
                                                                                                                         ___________________     $__________
                                                                                                                                                   100.00
            Name


                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

                                                                                                                                                     
                                                                                                                                                     
             ______________________________________                                                                                                      No
            Name                                                                                                                                         Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor


                                                                                                                                                       No
                                                                                                                                                     still have it?


                                                                                                                                                      
                                                          James Russell Wiley                         Office furniture
             Public Storage
             ______________________________________                                                                                                   ✔ Yes
            Name
             3003 Rutledge Rd.
             Kennesaw, GA 30144

                                                            Address




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              American Underwriting Services, LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

        None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                        Various                                    Funds from insureds due to insurance             250,000.00
                                                                                                                                                  $_________
          Various
          ______________________________________                                                   companies (also listed in Schedule
          Name
                                                                                                   B).




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     
     ✔   No
         Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                   
                                                                                                                                              
                                                     _____________________________________                                                         Pending


                                                                                                                                              
          Case number                                Name                                                                                          On appeal

          _________________________________                                                                                                        Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     
     ✔   No
         Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                American Underwriting Services, LLC
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




     
 24. Has the debtor notified any governmental unit of any release of hazardous material?


     
     ✔     No
           Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Windham Brannon                                                                                 From 05/12/2016
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               05/11/2018
              36630 Peachtree Road NE, Suite 600, Atlanta, GA 30326                                           To _______




              Name and address                                                                                Dates of service

              Sharon McClurd                                                                                  From 05/12/2016
                                                                                                                   _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                                06/30/2017
                                                                                                             To _______


                                          See attachments



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     James Russell Wiley
                    ______________________________________________________________________________
                    Name
                     6201 Arnall Court, Acworth, GA 30101




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Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    Michelle Madison
                     ______________________________________________________________________________
                     Name
                      1255 Roberts Rd, Suite 102, Kennesaw, GA 30144



                                                  See attachments.


     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    ProSight Speciality Mgt. Co., Inc., and NY Marine and Gen. Ins. Co.
                     ______________________________________________________________________________
                     Name
                      c/o Gary Marsh, Dentons US, LLP, 303 Peachtree Street, Suite 5300, Atlanta, GA
                      30308




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories

     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     
     ✔      No
            Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




             Name of the person who supervised the taking of the inventory                    Date of            The dollar amount and basis (cost, market, or
                                                                                              inventory          other basis) of each inventory

             ______________________________________________________________________           _______        $___________________

             Name and address of the person who has possession of inventory records


   27.2.     ______________________________________________________________________
             Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

           Name                               Address                                                 Position and nature of any             % of interest, if any
                                                                                                      interest
            The Wiley Group, Inc.             1255 Roberts Blvd. Suite 102, Kennesaw, GA 30144        Managing Member                          100%
           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control


     
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
         No
     
     ✔

           Yes. Identify below.
                                                 Address                                              Position and nature of           Period during which
             Name
                                                                                                      any interest                     position or interest was
                                                                                                                                       held
             ____________________________        _____________________________________________        ______________________           _________ To _________

             ____________________________        _____________________________________________        ______________________           _________ To _________

             ____________________________        _____________________________________________        ______________________           _________ To _________

             ____________________________        _____________________________________________        ______________________           _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     
           No
     ✔     Yes. Identify below.

             Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                      description and value of                                providing the value
                                                                                      property

             Matt Wiley                                                               277.40                               09/08/2017         Reimbursement of
   30.1.     ______________________________________________________________           _________________________            _____________
             Name
                                                                                                                                              expenses
             3542 Clubland Drive
             Marietta, GA 30068                                                                                           _____________


                                                                                                                          _____________

             Relationship to debtor                                                                                       _____________
             Relative of sole SH of sole Member
             ______________________________________________________________                                               _____________

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Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient                                                  158,000.00                     05/2018            Buyout payments - see atta
                                                                                             __________________________    _____________       ______________

   30.2        Neil P. Wiley
              ______________________________________________________________                                                04/2018
                                                                                                                           _____________
              Name
               3558 Langley Oaks Ct.
               Marietta, GA 30067                                                                                           03/2018
                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________
              Relative of sole SH of sole Member
              ______________________________________________________________
                                                                                                 See attachments



     
 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?


     
             No
     ✔       Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation
              The Wiley Group, Inc.
              ______________________________________________________________                             EIN: XX-XXXXXXX
                                                                                                              ____________________________




     
 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?


     
     ✔       No
             Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       05/18/2018
                               _________________




         
                                MM / DD / YYYY



               /s/ James Russell Wiley
              ___________________________________________________________                              James Russell Wiley
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Sole SH of The Wiley Group, Inc., Manager
              Position or relationship to debtor ____________________________________




         
         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?


         
              No
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
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               American Underwriting Services, LLC
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 Debtor Name                                                                    Case number (if known)



                                        Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Reliance Partners,                 $6,668.35                                 Other
 325 Mar
ket Street   Suite 205,
 Chattanooga, TN 37402

Colonial Insurance,                $167,726.57                               Other
 3845 H
olcomb Bridge Road
Ste 300 , Norcross,
 GA 30092

Integrity Transportation I $8,561.20                                         Other
nsurance Agency LLC,
 14511 Falling Creek Dr.
   , Houston, TX 77014

Professional Safety Consul $19,888.20                                        Other
tants,
 221 Victory Lane
Suite 100, Lincoln,
 NE 68528

Lloyds of London/Tysers,           $458,400.90                               Other
 9
th Floor Beaufort House
15 St Botolph Street,
 London, England,
   EC3A 7EE

ACE Westchester Specialty          $14,291.27                                Other
Grp, 5505 N.
 Cumberland Ave.
 Suite 307, Chicago,
 IL 60656

American Southern Insuranc $149,724.61                                       Other
e Companies,
 3715 Northsid
e Parkway Building 400,
 Suite 800, Atlanta,
 GA 30327

American Inter-Fidelity Ex $378,323.30                                       Other
change, 9223 Broadway;
 Ste A , Merrillville,
 IN 46410

American Millennium Insura $1,485,405.65                                     Other
nce Company,
 1044 Route 23 North,
 STE 103 , Wayne,
 NJ 07470

AIG,                               $102,748.15                               Other
 1200 Abernathy Rd         Bl
dg 600, Suite 800,
 Atlanta, GA 30328




  Official Form 207                     Statement of Financial Affairs for Non-Individuals
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               American Underwriting Services, LLC
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 Debtor Name                                                                    Case number (if known)



                                        Continuation Sheet for Official Form 207
U.S. Premium Finance,              $145,366.94                               Other
 280
Technology Parkway Su
ite 200, Norcross,
 GA 30092

IPFS,                              $54,785.85                                Other
 5316 Hwy 290 W Suite
 310, Austin, TX 78735

Willcomply, LLC,                   $9,520.42                                 Other
 3700 Park East Drive,
 Suite 250, Beachwood,
 OH 44122

Texas Comptroller of Publi $213,192.05
c Accounts,
 Texas Surplus
Lines Depar
tment PO Box 13528,
 Austin, TX 78711-3528

Various - see attached for                                                   Other
 SoFA #3,


4) Payments or other transfers of property made within 1 year before filing this case that
benefited any insider

James Russell Wiley                6201 Arnall Court,                        $564,048.21
                                    Acworth, GA 30101


7) Legal Actions

Prosight Speciality Mgt Co., Inc., et al. v. Am. Underwriting Serv., LLC;
 Bank of N. Ga, a Div. of Synovus Bank, Garnishee

18-GC-00408-0

Garnishment

State Court of Gwinnett County, Georgia

Pending

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Prosight Speciality Mgt Co., Inc., et al v. American Underwriting Services,
 LLC, et al

1:18-cv-00536-MLB

Fraudulent transfer

U.S. District Court for the Northern District of Georgia

Pending

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  Official Form 207                     Statement of Financial Affairs for Non-Individuals
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               American Underwriting Services, LLC
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 Debtor Name                                                                    Case number (if known)



                                        Continuation Sheet for Official Form 207
Prosight Speciality Mgt Co., Inc. and New York Marine & Gen. Ins. Co. v.
 American Underwriting Services, LLC and James Russell Wiley

1:16-cv-02397-PKC

Breach of contract and breach of fiduciary duty

U.S. District Court for the Southern District of New York

Concluded

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26a) Bookkeepers

Michelle Madison            1255 Roberts Rd,              05/12/2016                         05/11/2018
                             Suite 102,
                             Kennesaw, GA 30144

James Russell Wiley         6201 Arnall Court,            05/12/2016                         05/11/2018
                             Acworth, GA 30101


26c) Records keepers

Windham Brannon                    36630 Peachtree Road NE,
                                    Suite 600, Atlanta,
                                    GA 30326


30) Payments, distributions, or withdrawals credited or given to insiders

Kevin Wiley                                             $56,283.98

James Russell Wiley                                     $564,048.21




  Official Form 207                     Statement of Financial Affairs for Non-Individuals
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Attachment to No. 3 - to be supplemented
   DATE      CHECK NO.                  PAYEE         AMOUNT                             ACCOUNT                                  REASON
  5/9/2018      ACH          American Express           $7,572.24               The Wiley Group, Inc. (4700)                Payment on credit card
  5/9/2018      ACH          American Express           $1,000.00               The Wiley Group, Inc. (4700)                Payment on credit card
 4/23/2018      ACH          American Express           $5,000.00               The Wiley Group, Inc. (4700)                Payment on credit card
 4/23/2018      ACH          American Express           $1,000.00               The Wiley Group, Inc. (4700)                Payment on credit card
 3/28/2018      ACH          American Express          $15,000.00               The Wiley Group, Inc. (4700)                Payment on credit card
 3/27/2018      ACH          American Express             $522.00               The Wiley Group, Inc. (4700)                Payment on credit card
 2/20/2018      ACH          American Express           $1,500.00               The Wiley Group, Inc. (4700)                Payment on credit card
 2/22/2018       1046        Hallman & Wingate         $15,000.00               The Wiley Group, Inc. (4700)               Services
 4/10/2018       1053        Hallman & Wingate          $6,713.21               The Wiley Group, Inc. (4700)               Services
 4/10/2018       1054        Hallman & Wingate          $6,000.00               The Wiley Group, Inc. (4700)               Services
  2/1/2018       ACH         Humana                    $17,276.28               The Wiley Group, Inc. (4700)               Healthcare Insurance
 3/12/2018       ACH         Humana                     $8,959.37       Transport South Insurance Agency LLC (4783)        Healthcare Insurance
 4/11/2018       ACH         Humana                     $8,451.16       American Underwriting Services, LLC (5668)         Healthcare Insurance
 5/10/2018       ACH         Humana                     $6,758.87       Transport South Insurance Agency LLC (4783)        Healthcare Insurance
 2/27/2018       1048        Mike Darrah                $4,658.33               The Wiley Group, Inc. (4700)               Wages
 3/14/2018       1008        Mike Darrah                $4,658.53       Transport South Insurance Agency LLC (4783)        Wages
 3/29/2018       1041        Mike Darrah                $4,658.53       Transport South Insurance Agency LLC (4783)        Wages
 4/15/2018       1064        Mike Darrah                $4,658.53       Transport South Insurance Agency LLC (4783)        Wages
 3/30/2018       1052        Mike Darrah                  $804.42       Transport South Insurance Agency LLC (4783)        Wages
 2/14/2018       1039        Mike Darrah                $4,658.53               The Wiley Group, Inc. (4700)               Wages
 3/28/2018       1091        Oxendine Law Group, PC    $10,000.00               The Wiley Group, Inc. (4700)               Services
 4/18/2018       1092        Small Herrin, LLP          $2,000.00               The Wiley Group, Inc. (4700)               Services
  5/8/2018       1055        Small Herrin, LLP         $15,000.00               The Wiley Group, Inc. (4700)               Services
 5/11/2018       Wire        Small Herrin, LLP         $20,000.00       Transport South Insurance Agency LLC (4783)        Services
 5/11/2018       1085        Stephen Ohler              $1,440.00       Transport South Insurance Agency LLC (4783)        Services
 3/22/2018       1049        Stephen Ohler              $1,444.00       Transport South Insurance Agency LLC (4783)        Wages
 4/12/2018       1059        Stephen Ohler              $1,450.00       Transport South Insurance Agency LLC (4783)        Wages
 3/14/2018       1015        Stephen Ohler              $1,443.53       Transport South Insurance Agency LLC (4783)        Wages
 4/27/2018       1070        Stephen Ohler              $1,450.00       Transport South Insurance Agency LLC (4783)        Wages
 2/27/2018       1022        Stephen Ohler              $1,284.53       Transport South Insurance Agency LLC (4783)        Wages
 2/15/2018       1042        Stephen Ohler              $1,284.53               The Wiley Group, Inc. (4700)               Wages
 5/11/2018       1086        Joel Whighem               $1,232.57       Transport South Insurance Agency LLC (4783)        Wages
 4/13/2018       1060        Joel Whighem               $1,232.57       Transport South Insurance Agency LLC (4783)        Wages
 4/27/2018       1069        Joel Whighem               $1,232.57       Transport South Insurance Agency LLC (4783)        Wages
 2/27/2018       1023        Joel Whighem               $1,232.57       Transport South Insurance Agency LLC (4783)        Wages
 3/14/2018       1011        Joel Whighem               $1,232.57       Transport South Insurance Agency LLC (4783)        Wages
 2/14/2018       1041        Joel Whighem               $1,232.57               The Wiley Group, Inc. (4700)               Wages
 3/29/2018       1046        Joel Whighem               $1,232.57       Transport South Insurance Agency LLC (4783)        Wages
 5/11/2018       1090        Ragan Swennigen            $1,840.00       Transport South Insurance Agency LLC (4783)        Wages
 4/27/2018       1065        Ragan Swennigen            $1,840.20       Transport South Insurance Agency LLC (4783)        Wages
 4/13/2018       1058        Ragan Swennigen            $1,840.20       Transport South Insurance Agency LLC (4783)        Wages
 3/29/2018       1044        Ragan Swennigen            $1,840.20       Transport South Insurance Agency LLC (4783)        Wages
 2/28/2018       1010        Ragan Swennigen            $1,840.20       Transport South Insurance Agency LLC (4783)        Wages
 2/14/2018       1038        Ragan Swennigen            $1,840.20               The Wiley Group, Inc. (4700)               Wages
 5/11/2018       1080        Mike Summers                 $298.12       Transport South Insurance Agency LLC (4783)        Wages
 5/11/2018       1082        Mike Summers               $1,331.25       Transport South Insurance Agency LLC (4783)        Wages
  5/1/2018       1075        Mike Summers               $1,000.00       Transport South Insurance Agency LLC (4783)        Wages
 4/13/2018       1057        Mike Summers               $1,331.25       Transport South Insurance Agency LLC (4783)        Wages
 4/13/2018       1062        Mike Summers                 $298.41       Transport South Insurance Agency LLC (4783)        Wages
 4/22/2018       1066        Mike Summers               $1,331.25       Transport South Insurance Agency LLC (4783)        Wages
  3/9/2018       1003        Mike Summers                 $298.45       Transport South Insurance Agency LLC (4783)        Wages
 3/14/2018       1014        Mike Summers               $1,331.00       Transport South Insurance Agency LLC (4783)        Wages
 3/29/2018       1043        Mike Summers               $1,331.25       Transport South Insurance Agency LLC (4783)        Wages
 2/27/2018       1021        Mike Summers               $1,331.25       Transport South Insurance Agency LLC (4783)        Wages
 2/14/2018       1045        Mike Summers                 $360.24               The Wiley Group, Inc. (4700)               Wages
 5/11/2018       1089        Michelle Madison           $1,595.00       Transport South Insurance Agency LLC (4783)        Wages
 3/22/2018       1042        Michelle Madison           $1,595.02       Transport South Insurance Agency LLC (4783)        Wages
 4/13/2018       1056        Michelle Madison           $1,595.02       Transport South Insurance Agency LLC (4783)        Wages
 4/27/2018       1068        Michelle Madison           $1,595.02       Transport South Insurance Agency LLC (4783)        Wages
 2/22/2018       1019        Michelle Madison           $1,595.02       Transport South Insurance Agency LLC (4783)        Wages
 3/14/2018       1009        Michelle Madison           $1,595.00       Transport South Insurance Agency LLC (4783)        Wages
 2/14/2018       1036        Michelle Madison           $1,595.02               The Wiley Group, Inc. (4700)               Wages
 5/11/2018       1088        Taylor Cline               $2,086.00       Transport South Insurance Agency LLC (4783)        Wages
 3/29/2018       1039        Taylor Cline               $2,086.00       Transport South Insurance Agency LLC (4783)        Wages
 4/13/2018       1055        Taylor Cline               $2,086.00       Transport South Insurance Agency LLC (4783)        Wages
 3/14/2018       1005        Taylor Cline               $2,086.00       Transport South Insurance Agency LLC (4783)        Wages
 4/27/2018       1072        Taylor Cline               $2,086.00       Transport South Insurance Agency LLC (4783)        Wages
 2/27/2018       1047        Taylor Cline               $2,086.40               The Wiley Group, Inc. (4700)               Wages
  Various      Various       Premium Assign. Corp.     $14,410.65                                                          Insurance premiums
  Various      Various       Roberts Blvd., LLC        $31,374.40                                                          Rent
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Attachment to Nos. 4 and 30 - to be supplemented

             2018
1/16/2018    1004   Russell Wiley                   $5,000.00                  The Wiley Group, Inc. (4700)              Distribution in lieu of payroll
1/21/2018    1014   Russell Wiley                   $2,500.00                  The Wiley Group, Inc. (4700)              Distribution in lieu of payroll
1/30/2018    1033   Russell Wiley                   $6,735.00                  The Wiley Group, Inc. (4700)              Distribution in lieu of payroll
1/30/2018    1034   Russell Wiley                   $2,500.00                  The Wiley Group, Inc. (4700)              Distribution in lieu of payroll
2/6/2018     1016   Russell Wiley                   $5,000.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
2/9/2018     1017   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
2/14/2018    1043   Russell Wiley                   $6,735.00                  The Wiley Group, Inc. (4700)              Distribution in lieu of payroll
2/22/2018    1007   Russell Wiley                   $6,735.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
2/23/2018    1001   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
2/23/2018    1004   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
2/27/2018    1001   Russell Wiley                   $3,000.00         Transco Transporation Underwriters, Inc. (4775)    Distribution in lieu of payroll
 3/9/2018    1013   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
3/12/2018    1006   Russell Wiley                   $5,000.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
3/16/2018    1037   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
3/20/2018    1038   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
3/22/2018    1018   Russell Wiley                   $3,000.00         Transco Transporation Underwriters, Inc. (4775)    Distribution in lieu of payroll
3/27/2018    1051   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
 4/2/2018    1050   Russell Wiley                   $5,000.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
 4/6/2018    1053   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
4/13/2018    1063   Russell Wiley                   $2,500.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
4/23/2018    WD     Russell Wiley                   $2,500.00                  The Wiley Group, Inc. (4700)              Distribution in lieu of payroll
4/27/2018    1071   Russell Wiley                   $5,000.00          Transport South Insurance Agency LLC (4783)       Distribution in lieu of payroll
 5/5/2018    1074   Russell Wiley                   $2,500.00         Transport South Insurance Agency LLC (4783)        Distribution in lieu of payroll
5/10/2018    1056   Russell Wiley                   $2,500.00                    The Wiley Group (4700)                  Distribution in lieu of payroll
             2017
05/12/17     5334   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
05/17/17     5335   Russell Wiley                   $7,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
05/22/17     5336   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
05/30/17     5337   Russell Wiley                   $7,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
06/06/17     5339   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
06/15/17     5340   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
06/20/17     5341   Russell Wiley                   $7,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
06/22/17     5342   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
06/23/17     5343   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
06/29/17     5319   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
06/30/17     5320   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
07/06/17     5321   Russell Wiley                   $7,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
07/07/17     5322   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
07/07/17     5324   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
07/11/17     5325   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
07/14/17     5327   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
07/19/17     5329   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
07/21/17     5370   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
07/27/17     5371   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
08/02/17     5372   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
08/07/17     5404   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
08/10/17     5374   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
08/14/17     5380   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
08/18/17     5381   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
08/21/17     5383   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
08/25/17     5385   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
08/31/17     5386   Russell Wiley                   $7,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
09/06/17     5387   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
09/07/17     5390   Russell Wiley                   $6,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
09/14/17     5391   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
09/20/17     5392   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
09/29/17     5394   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
10/02/17     5447   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
10/04/17     5448   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
10/06/17     5479   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
10/11/17     5478   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
10/17/17     5450   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
10/19/17     5451   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
10/23/17     5452   Russell Wiley                   $3,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
10/27/17     5453   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
11/01/17     5455   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
11/03/17     5456   Russell Wiley                   $2,500.00              American Underwriting Services, LLC           Distribution in lieu of payroll
11/09/17     5458   Russell Wiley                   $5,000.00              American Underwriting Services, LLC           Distribution in lieu of payroll
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11/14/17        5459     Russell Wiley                            $10,000.00                    American Underwriting Services, LLC          Distribution in lieu of payroll
11/22/17        5538     Russell Wiley                             $7,500.00                    American Underwriting Services, LLC          Distribution in lieu of payroll
12/05/17        5539     Russell Wiley                             $4,000.00                    American Underwriting Services, LLC          Distribution in lieu of payroll
12/07/17        5543     Russell Wiley                             $3,000.00                    American Underwriting Services, LLC          Distribution in lieu of payroll
12/11/17        5544     Russell Wiley                             $5,000.00                    American Underwriting Services, LLC          Distribution in lieu of payroll
12/22/17        5545     Russell Wiley                            $10,000.00                    American Underwriting Services, LLC          Distribution in lieu of payroll
                                                                 $330,205.00
A portion, and in some cases a majority of, the services provided by these firms benefitted Debtor.
To the extent Russell Wiley was a defendant in certain pieces of litigation some services did benefit him.
11/27/17         5464     Gillen Withers & Lake LLC                $3,180.00                    American Underwriting Services, LLC          Services
 1/18/2018       1002     Gillen Withers & Lake LLC               $50,000.00                         The Wiley Group, Inc. (4700)            Services
 2/22/2018       1046     Hallman & Wingate*                      $15,000.00                         The Wiley Group, Inc. (4700)            Services
 4/10/2018       1053     Hallman & Wingate                        $6,713.21                         The Wiley Group, Inc. (4700)            Services
 4/10/2018       1054     Hallman & Wingate                        $6,000.00                         The Wiley Group, Inc. (4700)            Services
07/20/17         5328     Scoggins and Williamson PC*              $5,000.00                    American Underwriting Services, LLC          Services
11/28/17         5496     Scoggins and Williamson PC               $1,350.00                    American Underwriting Services, LLC          Services
11/30/17         5463     Scoggins and Williamson PC               $1,350.00                    American Underwriting Services, LLC          Services
 3/28/2018       1091     Oxendine Law Group, PC                  $10,000.00                    American Underwriting Services, LLC          Services
05/16/17         5241     Troutman Sanders, LLP*                  $10,000.00                    American Underwriting Services, LLC          Services
05/16/17         5242     Troutman Sanders, LLP                   $10,000.00                    American Underwriting Services, LLC          Services
05/30/17         5236     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
06/05/17         5240     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
06/15/17         5238     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
06/19/17         5239     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
07/20/17         5360     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
07/28/17         5361     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
08/08/17         5362     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
08/16/17         5363     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
08/22/17         5364     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
08/29/17         5365     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
09/05/17         5366     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
09/20/17         5367     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
09/27/17         5368     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
10/17/17         5468     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
10/27/17         5469     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
11/10/17         5470     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
11/21/17         5471     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
12/05/17         5472     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
12/18/17         5473     Troutman Sanders, LLP                    $5,000.00                    American Underwriting Services, LLC          Services
                                                                 $213,593.21
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Attachment to Nos. 4 and 30 - to be supplemented
                     2018
   1/3/2018          1001        Neil Wiley          $7,500.00      The Wiley Group, Inc. (4700)          Buyout
   1/12/2018         1010        Neil Wiley          $7,500.00      The Wiley Group, Inc. (4700)          Buyout
   1/30/2018         1027        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
    2/2/2018         1029        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
    2/9/2018         1030        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
   2/16/2018         1031        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
   2/23/2018         1032        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
    3/9/2018         1085        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
   3/16/2018         1086        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
   3/23/2018         1087        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
   3/30/2018         1088        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
    4/6/2018         1049        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
   4/13/2018         1050        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
   4/20/2018         1051        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
   4/29/2018         1052        Neil Wiley          $3,500.00      The Wiley Group, Inc. (4700)          Buyout
    5/7/2018         1089        Neil Wiley         $15,000.00      The Wiley Group, Inc. (4700)          Buyout
                     2017
   05/16/17          5282        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   05/31/17          5013        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   06/16/17          5283        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   07/03/17          5284        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   07/18/17          5285        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   08/01/17          5251        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   08/16/17          5252        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   08/31/17          5413        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   09/18/17          5414        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   11/17/17          5418        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
   12/05/17          5540        Neil P. Wiley       $7,500.00   American Underwriting Services, LLC      Buyout
                                                   $158,000.00
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Attachment to Nos. 4 and 30 - to be supplemented
                                2018
 1/24/2018     1011         Kevin Wiley               $2,750.00   The Wiley Group, Inc. (4700)                  Wages and reimbursement of expenses
 2/14/2018     1044         Kevin Wiley               $3,619.14   The Wiley Group, Inc. (4700)                  Wages and reimbursement of expenses
 2/26/2018     1002         Kevin Wiley               $2,750.00   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 2/27/2018     1024         Kevin Wiley               $3,619.14   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 3/14/2018     1012         Kevin Wiley               $3,619.14   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 3/29/2018     1048         Kevin Wiley               $2,750.00   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 3/29/2018     1047         Kevin Wiley               $3,619.14   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 4/13/2018     1061         Kevin Wiley               $3,619.14   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 4/23/2018     1073         Kevin Wiley               $2,750.00   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 4/30/2018     1067         Kevin Wiley               $3,619.14   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 5/11/2018     1081         Kevin Wiley               $2,750.00   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
 5/11/2018     1087         Kevin Wiley               $3,619.14   Transport South Insurance Agency LLC (4783)   Wages and reimbursement of expenses
                                2017
   05/30/17    5042         Kevin Wiley               $1,750.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
   06/28/17    5043         Kevin Wiley               $1,750.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
   07/20/17    5044         Kevin Wiley               $2,750.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
   08/21/17    5045         Kevin Wiley               $2,750.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
   09/05/17    5046         Kevin Wiley               $1,000.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
   10/16/17    5446         Kevin Wiley               $1,000.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
   10/30/17    5454         Kevin Wiley               $2,750.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
   11/24/17    5537         Kevin Wiley               $2,750.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
   12/14/17    5511         Kevin Wiley                 $700.00   American Underwriting Services, LLC           Wages and reimbursement of expenses
                                                     $56,283.98
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                          Supplement to SOFA Question Number 13

13.     Transfers Not Already Listed on this Statement. List any transfers of money or other
property by sale, trade, or any other means made by the Debtor or a person acting on behalf of
the Debtor within two years before the filing of this case to any other person other than property
transferred in the orderly course of business or financial affairs.

        When the garnishments were filed against AUS’ accounts by ProSight Specialty
Management Company, Inc., et al, it was necessary for AUS to continue its business and to pay
lawful debts which it owed to other creditors and to make premium payments which it held in
trust for other insurance companies. Accordingly, between January 31, 2018 and the Petition
Date, $4,287,417.10 was deposited by representatives of the Debtor into accounts of affiliated
companies. The monies were used by AUS to satisfy, payroll, tax obligations, vendor debts and
to pay sums of money held in trust for other insurance companies.

        Other than the fact that these monies were paid from accounts of affiliates, they were paid
in the ordinary course of the business of AUS.
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Attachment to No. 30
Matt Wiley
9/8/2017 5430          $277.40 American Underwriting Services, LLC   Expense reimbursement
        Case
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           (Form 2030) (12/15)                 Doc 1 Filed 05/18/18 Entered 05/18/18 18:27:41                                           Desc Main
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                                      United States Bankruptcy Court
                                                              Northern District of Georgia
                                                __________________________________
     In re   American Underwriting Services, LLC

                                                                                                             Case No. _______________

    Debtor                                                                                                    Chapter________________
                                                                                                                      11



                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         53,298.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         350.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)      Document    Page 118 of 139
      d. [Other provisions as needed]
Debtor agrees to compensate Small Herrin, LLP ("Small Herrin"), for the cost of all services rendered by the firm. Small Herrin has received a
retainer in the amount of $53,298.00 toward fees and expenses to be incurred within the Chapter 11 case. Any fees and expenses to be incurred
within the Chapter 11 case shall only be payable to the respective firm when the same are allowed by the U.S. Bankruptcy Court. The firm shall not
apply any of the retainer amount against fees or expenses without prior approval of the Court. Prior to the filing of the case, the firm was paid
$21,985.00, plus $1,717.00, for the filing fee, for pre-petition services rendered in preparing the case.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Any services performed at Small Herrin's normal hourly rates and reimbursement of expenses related thereto, the charges for which exceed the
retainer amount.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

     _____________________
       05/18/2018
                                        _________________________________________
                                         /s/ Anna Humnicky, 377850

     Date                                     Signature of Attorney
                                        _________________________________________
                                         Small Herrin, LLP

                                            ​Name of law firm
                                         Two Paces West, Suite 200
                                         2727 Paces Ferry Rd.
                                         Atlanta, GA 30339
                                         ahumnicky@smallherrin.com
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                             United States Bankruptcy Court
                             Northern District of Georgia




         American Underwriting Services, LLC
In re:                                                         Case No.

                                                               Chapter    11
                     Debtor(s)




                             Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              05/18/2018                        /s/ James Russell Wiley
Date:
                                                Signature of Individual signing on behalf of debtor

                                                Sole SH of The Wiley Group, Inc., Manager
                                                Position or relationship to debtor
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          1st Patriot Insurance Services, LLC     ARM Insurance Agency
          2616 N. McColl Rd                       4511 Highway 6 N Ste A
          McAllen, TX 78501                       Houston, TX 77084


          A to Z Insurance Group, Inc             Acadia Coffee Service, Inc.
          5959 S Staples Ste 102                  1165 Allgood Road suite 17
          Corpus Christi, TX 78413                Marietta, GA 30062-2238


          A.I.Credit Corporation                  Acrisure, LLC
          P.O. Box 9045                           5664 Prairie Creek Drive, SE
          New York, NY 10087-9045                 Caledonia, MI 49316


          AAA Truck Agency Corp                   Adams Trucking Insurance
          25303 IH 45 N The Woodlands             145 Stately Oaks Cir.
          Spring, TX 77380                        Brunswick, GA 31523


          ABCO Premium Finance                    Affiance Insurance Agency
          PO BOX 141029                           PO Box 1306
          Coral Gables, FL 33114                  Buda, TX 78610


          ACE Westchester Specialty Grp           All Solutions Insurance Agency, LLC
          5505 N. Cumberland Ave.                 22364 Alessandro Blvd
          Suite 307                               Moreno Valley, CA 92553
          Chicago, IL 60656

                                                  All-Wheels Insurance Services
          AFS/ Ibex                               1001 Cypress Creek Road Ste403
          PO Box 224528                           Cedar Park, TX 78613
          Dallas, TX 75222

                                                  Alliant Insurance Services, Inc.
          AIG                                     5100 Thompson Terrace Ste A
          1200 Abernathy Rd Bldg 600, Suite 800   Colleyville, TX 76034
          Atlanta, GA 30328

                                                  Allnations Insurance Agency
          AON Risk Services Inc.                  2537 S Gessner Ste 110
          P O Box 3870                            Houston, TX 77063
          Little Rock, AR 72203
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          Allsure Insurance                       Bancorp South Insurance Services, Inc.
          1722 Prairie Grove Dr                   8315 Cantrell Road Suite 300
          Houston, TX 77077                       Little Rock, AR 72227


          AmeriComp Benefits, Inc.                BankDirect Capital Finance
          P O BOX 4319                            Two Conway Park 150 North Field Drive
          Columbus, GA 31914                      Suite 190
                                                  Lake Forest, IL 60045

          American Inter-Fidelity Exchange
          9223 Broadway; Ste A                    BankDirect Capital Finance, LLC
          Merrillville, IN 46410                  P.O. Box 660448
                                                  Dallas, TX 75266-0448

          American Internat'l Companies
          P.O. Box 30174                          Belken Insurance Associates
          New York, NY 10087-0174                 8626 Tesoro Drive #310
                                                  San Antonio, TX 78217

          American Millennium Insurance Company
          1044 Route 23 North, STE 103            Ben Spurgin Insurance
          Wayne, NJ 07470                         2521 Cedar Springs
                                                  Dallas, TX 75201

          American Southern Insurance Companies
          3715 Northside Parkway Building 400,    Biba Insurance Services Inc
          Suite 800                               17908 Murphy Parkway
          Atlanta, GA 30327                       Lathrop, CA 95330


          AssuredPartners NL                      Big Rigs Insurance
          3000 Meridian Blvd STE 100              14510 Vaughn Rd
          Franklin, TN 37067                      Molalla, OR 97038


          Avina's Insurance Services              Big Truck Agency
          1110 Artesia Blvd Ste. A                2517 Fairway Park Drive Suite 202
          Cerritos, CA 90703                      Houston, TX 77092


          B&D Insurance Services                  Bigham Kliewer Chapman & Watts
          12118 Walnut Park Crossing #1317        2100 Trimmier Road PO Box 996
          Austin, TX 78753                        Killeen, TX 76540
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          Bob White Insurance                 Canal Insurance Company
          PO BOX 73009                        400 East Stone Avenue
          Houston, TX 77273                   Greenville, SC 29601


          Brower Insurance Agency, LLC        Capital Premium Finance
          409 East Monument Ave STE 400       PO Box 1020
          Dayton, OH 45402                    Draper, UT 84020


          Bylsma-Nederveld Agency, Inc.       Capitol Insurance Brokers
          3001 Fuller, N.E.                   3820 W.Happy Valley Rd Ste 141
          Grand Rapids, MI 49505              Glendale, AZ 85310


          C. Ferguson Insurance               Capps Insurance Agency
          P.O. Box 1855                       1610 Shadywood Lane
          Valley Springs, CA 95252            Mount Pleasant, TX 75455


          C.M. Brown & Associates, Inc.       Carrier Service Insurance
          P.O.Box 384                         P.O. Box 69000C
          Perryville, MO 63775                Miami, FL 33269


          CIT                                 Cen-Cal Transportation Ins
          21146 Network Place                 2351 Sunset Blvd. Ste #314
          Chicago , IL 60673-1211             Rocklin, CA 95765


          CO Brown Agency Inc                 Centerpoint
          2048 Superior Drive NW              11285 Elkins Road, Bldg E
          Rochester, MN 55901                 Roswell , GA 30076


          Cal-Valley Insurance Services Inc   Centex Transportation Ins. Svc
          5070 N. Sixth Street Suite 155      2351 Sunset Blvd. Ste. 314
          Fresno, CA 93710                    Rocklin, CA 95765


          Canal Indemnity Company             Chrome Truck Agency LLC
          400 East Stone Ave                  12220 Eruzione Drive
          Greenville, SC 29061                Austin, TX 78748
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          Chubb & Son, Inc.                  Commercial & Transportation Ins.
          5505 N Cumberland Ave, Ste 301     P.O. Box 361901
          Chicago, IL 60656                  Birmingham, AL 35236


          Classic Plan Premium Finance       Commercial Carrier Insurance
          PO Box 5146                        44 Merrimon Avenue
          Chino, CA 91708-5146               Ashville, NC 28801


          Cline Wood Agency                  Commercial Insurance Associates, LLC
          4300 West 133rd St                 103 Powell Court Suite 100
          Leawood, KS 66209                  Brentwood, TN 37027


          Cobb County Tax Commissioner       Commercial Insurance Solutions
          700 South Cobb Drive               P.O. Box 6310
          Marietta, GA 30060-3162            East Brunswick, NJ 08816


          Cobb County Tax Commissioner       Commercial Transportation Insurance
          P.O. Box 100127                    Services - CTIS
          Marietta, GA 30061-7027            6520 44th Street #300
                                             Sacramento, CA 95823

          Coldwater Insurance Agency Inc
          613 Austin Street                  Commerical Carriers
          Levelland, TX 79336                12641 166th Street
                                             Cerritos, CA 90703

          Colonial Insurance
          3845 Holcomb Bridge Road Ste 300   Commerical Insurance Services
          Norcross, GA 30092                 PO DRAWER 26227
                                             Oklahoma City, OK 73126

          Com-Co Insurance Agency
          3425 Dempster St                   Compass Insurance Agency
          Skokie, IL 60076                   PO Box 530350
                                             Birmingham, AL 35253

          Comcast
          P O Box 530098                     Cook Insurance Group
          Atlanta, GA 30353-0098             3333 Lee Parkway Suite 600
                                             Dallas, TX 75219
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          Cottingham & Butler              DMB Truck Insurance LLC
          P.O. Box 28                      PO Box 6423
          Dubuque , IA 52004-0028          McKinney, TX 75071


          Cottingham & Butler              Dakota Street Insurance
          800 Main Street PO Box 28        PO Box 202
          Dubuque, IA 52004                Spring Valley, IL 61362


          County Wide Insurance            David Baker Insurance
          130 East Stoddard                950 S Fry Road
          Dexter, MO 63841                 Katy, TX 77450


          Craig C Hansen Insurance Servi   Davis Insurance Agency
          2103 3rd Street                  PO BOX 152620
          Eureka, CA 95501                 Lufkin, TX 75915-2620


          Crossroads Insurance Services    De Lage Landen Financial Svcs
          9816 Gilespie St Suite 120       P.O. Box 41601
          Las Vegas, NV 89183              Philadelphia, PA 19101-1601


          Crum & Forster Insurance Co.     Delaware Secretary of State
          305 Madison Avenue               Division of Corporations P O Box 5509
          Morristown, NJ 07962             Bingham , NY 13902-5509


          Custom INS Division              Demoisey Insurance Agency
          404 E Ramsey Suite 210           258 Plaza Drive
          San Antonio, TX 78216            Lexington, KY 40503


          Cypress Premium Funding          Department of State
          30448 Rancho Viejo Rd STE 100    P.O. Box 1500
          San Juan Capistrano, CA 92675    Tallahassee , FL 32302-1500


          D & H Insurance Group            Desert West Insurance Agency Inc
          914 Judson Rd                    PO Box 640210
          Longview, TX 75601               El Paso, TX 79904
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          Dickson Insurance                       Elite 4 Truck
          PO BOX 40308                            1801 South Excise Ave Ste 115
          Mesa, AZ 85274                          Ontario, CA 91761


          Don-Rick Insurance Inc                  Ellington Insurance Inc
          313 Oak Street                          121 S Green St
          Baraboo, WI 53913                       Swainsboro, GA 30401


          Donald LaPenna Associates               Elliott Hartman Agency
          PO BOX 1868                             611 Ansborough Ave.
          Cranford, NJ 07016                      Waterloo, IA 50704


          ECBM                                    Emery & James Ltd
          300 Conshohocken Ste 405                300 E. Morris Ave.
          West Conshohocken, PA 19428             Hammond, LA 70403


          Eagle National Insurance - USA (HQ)     Equify Risk Services LLC
          80 SW 8th Street, Suite 2000 Brickell   12222 Merit Drive Suite 1400
          Bayview Office Building                 Dallas, TX 75251
          Miami, FL 33130

                                                  Express Premium Finance Co.
          Eastern Insurors, LLC                   PO Box 18836
          445 Godwin Avenue                       Oklahoma City, OK 73154-0836
          Midland Park, NJ 07432

                                                  FDI Management Group
          Easy Truck Insurance                    275 Cumberland Pkwy Ste 246
          7635 Clement Rd Ste A                   Mechanicsburg , PA 17055
          Vacaville, CA 95688

                                                  FP Mailing Solutions
          Ebix, Inc.                              140 N Mitchell Court, ste 200
          3906 Paysphere Circle                   Addison , IL 60101-5629
          Chicago, IL 60674

                                                  Farris Evans Insurance
          Eiyida Solutions                        1568 Union Avenue
          16W277 83rd Street Ste C                Memphis, TN 38174
          Burr Ridge, IL 60527-7951
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          FedEx                                  Florida Commercial Ins Inc
          P.O. Box 660481                        1401 SW 21st Lane
          Dallas, TX 75266-0481                  Boca Raton, FL 33486


          Fino Services LLC                      Florida Department of State
          6193 Highway Boulevard #205            P.O. Box 6327
          Katy, TX 77494                         Tallahassee , FL 32314


          First Insurance Funding                Florida State Underwriters
          450 Skokie Blvd Ste 1000               P.O. Box 300986
          Northbrook, IL 60065                   Fern Park, FL 32824


          First Niagra Risk Management           Fortenberry Insurance Agency
          125 Hillvue Lane                       P.O. Box 2139
          Pittsburgh, PA 15237                   Hewitt, TX 76643-2139


          First Services Inc                     Frontier Truck Insurance
          215 Estates Dr Ste 1                   6054 Tanana Drive
          Roseville, CA 95678                    Carmel, IN 46033


          Fisher & Phillips LLP                  Gary W. Marsh, Esq., Dentons US, LLP
          1075 Peachtree Street, NE Suite 3500   303 Peachtree Street NE, Suite 5300
          Atlanta, GA 30309                      Atlanta, GA 30308


          Flat Iron Capital                      Generazio Associates, Inc.
          950 17th St Suite 1300                 265 Broad Street
          Denver, CO 80202                       Bloomfield, NJ 07003


          Fleet Risk Management, Inc.            Georgia Department of Insurance
          2485 Demere Rd., Suite 100             Premium Tax Division P O Box 935134
          Saint Simons Island, GA 31522          Hapeville , GA 30354


          FleetSeek                              Georgia Department of Labor
          500 Lafayette Blvd, Ste. 230           P.O. Box 200366
          Fredericksburg , VA 22401              Cartersville , GA 30120
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          Georgia Department of Revenue         HG Companies & Assurance LLC
          1800 Century Blvd.                    2045 E Price Rd Ste 7L
          Suite 9100                            Brownsville, TX 78521
          Atlanta, GA 30345

                                                HNI Risk Services
          Georgia Department of Revenue         16085 West Cleveland Ave
          Taxpayer Services Division P.O. Box   New Berlin, WI 53151
          740321
          Atlanta, GA 30374-0321
                                                HNI Truck Group
                                                1621 Colonial Parkway
          Georgia Department of Revenue         Inverness, IL 60067
          P.O. Box 105499
          Atlanta, GA 30348-5499
                                                HUB Internat'al Transportation
                                                P.O. Box 1000
          Global Associates                     Colchester, VT 05446
          20 Highland Ave
          Metuchen, NJ 08840
                                                Hadley & Lyden, Inc.
                                                P.O. Box 700
          Global Transportation Ins.            Winter Park, FL 32790
          P.O. Box 5220
          Farmington, NM 87499
                                                Hancock & Associates, Inc
                                                8200 Kingston Pike Suite 21
          Good's Insurance                      Knoxville, TN 37919
          352 E Main St, Ste 200
          Leola, PA 17540
                                                Hanuschak Agency
                                                P.O. Box 7727
          Goodman-Baker Insurance               Cumberland, RI 02864
          3534 E Sunshine Ste Ste H
          Springfield, MO 65809
                                                Hartley Cylke Pacific Insurance
                                                2747 University Ave
          Grace Group, Inc.                     San Diego, CA 92104
          17709 Cantrell Road
          Little Rock, AR 72223
                                                Hatch Agency
                                                PO BOX 1861
          Great Lakes Insurance Assoc.          Minnetoka, MN 55345
          3205 Peach Street
          Erie, PA 16508
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          Hawk Agency Inc                      Hinson Building Corporation
          7131 Knoxville Ave                   540 48th Street Court East
          Peoria, IL 61614                     Bradenton , FL 34208


          Haymond Insurance Inc.               Hire Right Solutions
          200 S. Main                          P O Box 847891
          Searcy, AR 72145                     Dallas, TX 75284-7891


          Hays of Utah Insurance Services      Holmes Murphy & Associates
          170 South Main Street Suite 1000     PO BOX 2429
          Salt Lake City, UT 84101             Cedar Rapids, IA 52406-2429


          Heil and Heil Insurance Agency LLC   Hub Coburn Insurance
          1250 E Diehl Rd Ste 104              PO BOX 1000
          Naperville, IL 60563                 Colchester, VT 05446


          Heiser Agency                        Hub Flynn
          133 S Main Street                    1643 24th Street West Suite 21
          Morton, IL 61550                     Billings, MT 59102


          Heritage Insurance                   Hub International
          920 Lily Creek Rd Suite 201          PO BOX 17346
          Louisville, KY 40243                 Salt Lake City, UT 84117


          Heritage Insurance Service           Hub International Texas
          920 Lily Creek Rd Suite 201          12175 Network Blvd. Suite 100
          Louisville, KY 40243                 San Antonio, TX 78249


          Hibbs & Associates                   Hub Kaufman
          2362 Three Bars Dr                   P.O. Box 17346
          Snellville , GA 30078                Salt Lake City, UT 84117


          Higginbotham                         Hub Lenhardt Agency
          308 W Parkwood Ave #104B             1643 24th Street W, Ste 211
          Friendswood , TX 77546               Billings, MT 59102
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          Hubbard Insurance Agency, Inc     Insurance Brokers of Maryland-
          4574 FM 1960 East                 PO Box 3767
          Humble, TX 77346                  Hagerstown, MD 21742-3737


          Hughston Insurance Agency, Inc.   Insurance Group Services, Inc.
          46 Cove Circle                    3000 W. Cypress Creek Rd
          Brownsville, TX 78521             Fort Lauderdale, FL 33309


          Hunt & Associates, Inc.           Insurance Office of America
          720 North Post Oak Suite 330      4223 South Pipkin Rd Ste 200
          Houston, TX 77024                 Lakeland, FL 33811


          IBEX                              Insurance Office of America - MD
          PO Box 224528                     1407 York Road Ste 312
          Dallas, TX 75222                  Lutherville Timonium, MD 21093


          INSPRO Insurance                  Insurance Risks Managers of MO
          P.O. Box 6847                     425 N New Ballas Rd Ste #175
          Lincoln, NE 68506                 St Louis, MO 63141


          IPFS                              Insurance Service Associates
          5316 Hwy 290 W                    1770 Indian Trail Rd Ste #130
          Suite 310                         Norcross, GA 30093
          Austin, TX 78735

                                            Insurance Service Group
          ISU Stetson-Beemer Insurance      P.O. Box 4000
          PO BOX 7236                       Clinton, TN 37717
          Reno, NV 89510

                                            Insurance of Mid Cities Agency
          Impact Finance Corp               1235 Cavender Dr #101
          P.O. Box 515439                   Hust, TX 76053
          Dallas, TX 75251-5439

                                            Insurepointe of Texas, Inc.
          Insgroup Inc.                     2909 Hillcroft Suite 600
          3131 W Alabama Ste 200            Houston, TX 77057
          Houston, TX 77098
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          Insurica Ins. Management Network            Interstate Trucking Alliance
          1100 NE Loop 410 Ste 200                    7414 Fossil Hill Dr
          San Antonio, TX 78209                       Arlington, TX 76002


          Integrity Transportation Insurance Agency   Intervalley Insurance Services
          LLC                                         4221 N Fresno Street
          14511 Falling Creek Dr.                     Fresno, CA 93726
          Houston, TX 77014

                                                      Island Financial Ins Assoc Inc
          Interline Risk Services, Inc.               2815 East Main Avenue
          2100 Pooler Parkway                         Puyallup, WA 98372
          Pooler, GA 31322

                                                      Italiano Insurance Services
          Internal Revenue Service                    PO Box 18425
          Central Insolvency Operations               Tampa, FL 33679
          PO Box 7346
          Philadelphia, PA 19101
                                                      J. Smith Lanier
                                                      P.O. Box 70
          Interstate Insurance Agency                 West Point, GA 31833
          PO Box 568944
          Orlando, FL 32856-8944
                                                      JLP Insurance Services, LLC
                                                      3719 Fry Rd. Suite C
          Interstate Insurance Services Inc.          Katy, TX 77449
          2601 N Del Rosa Ave Suite 114
          San Bernardino, CA 92402
                                                      Jagdeep Singh Insurance Agency
                                                      4185 W Figarden Dr #101
          Interstate Insurance Services Inc.          Fresno, CA 93722
          6101 N Armstrong St.
          Wichita, KS 67204
                                                      James Brummett Insurance
                                                      PO Box 606
          Interstate Motor Carriers Agency, Inc       Oliver Springs, TN 37840
          PO Box 4500
          Freehold, NJ 07728
                                                      James Miller Insurance Agency
                                                      1801 Eastchase Parkway Suite 109
          Interstate Truckers Insurance               Fort Worth, TX 76120
          P.O. Box 8394
          Boise, ID 83707
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          James Russell Wiley                      Kenneth Seiber
          6201 Arnall Ct.                          10010 Judy Road
          Acworth, GA 30101                        Lyles, TN 37098


          Jane R. Parker                           Kentucky Attorney in Fact
          204 Kier Street                          314 West Main Street
          New Alexandria , PA 15670                Frankfort, KY 40601-1808


          Jeffers Insurance Agency                 Keuler Insurance Agency Inc
          100 NE Loop 410, Ste #1250               229 High St
          San Antonio, TX 78216                    Mineral Point, WI 53565


          Jenna Crossley Sanford                   Keystone Truck Underwriters, LLC
          14635 Creek Club Dr                      702 W. Pitt Street PO Box 640
          Alpharetta, GA 30004                     Bedford, PA 15522


          Jones Truck Insurance Agency             Kiely, Hines & Associates Insurance
          P.O. Box 236                             6100 Dutchmans Lane 10th Floor
          Waco, TX 76703-0236                      Louisville, KY 40257


          KHD LLC Insurance Services               Kinloch Partners, Inc.
          1259 Route 46 East Building One, Suite   300 Executive Drive Ste 310
          125                                      West Orange, NJ 07052
          Parsippany, NJ 07054

                                                   Kirby Soar Insurance Agency
          KMB Insurance Consultants                809 S. Evers Street
          1150 Johnson Drive                       Plant City, FL 33563
          Naperville, IL 60540

                                                   Krist Insurance
          Katy Insurance Agency, Inc.              6600 Westown Pkwy., Suite 250
          P O Box 597                              West Des Moines, IA 50266
          Katy, TX 77492

                                                   Kunkel & Associates
          Keisling Insurance                       401 Data Court
          8500 Highway 111 Ste 150                 Dubuque, IA 52003
          Byrdstown, TN 38549
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          L Transportation Writers, Inc.    Licona Insurance Group
          405 Oakwood Road 2nd Floor        5927 Gateway Blvd W Ste B
          Huntington Station, NY 11746      El Paso, TX 79925


          LCIA INC                          Lighthouse Insurance Group
          PO BOX 3043                       4808 Broadmoor SE
          Kearny, NJ 07032                  Grand Rapids, MI 49512


          LLC Insurance Agency              Lipscomb & Pitts
          4216 N Lincoln Ave                2670 Union Avenue
          Chicago, IL 60618                 Memphis, TN 38112


          Latino Truckers Insurance Serv    Lloyds of London/Tysers
          PO BOX 4267                       9th Floor Beaufort House
          Ontario, CA 91761                 15 St Botolph Street
                                            London, England, EC3A 7EE

          Leavitt Group
          6050 Tacoma Mall Blvd #300        Logistics Insurance Concepts
          Tacoma, WA 98409                  1527 W. State Hwy 114 Ste 500-299
                                            Grapevine, TX 76051

          Lenhardt Agency, Inc.
          Suite 211                         Lonesource
          Billings, MT 59102                114 MacKenan Drive Suite 300
                                            Cary , NC 27511

          Lexington Insurance Company
          100 Summer Street, Boston         Los Robles
          Boston, MA 02110-2103             2930 E Inland Empire Blvd., St
                                            Ontario, CA 91764

          Liberty Insurance Serviesz, Inc
          3601 W. Devon Ave Suite 103       Love Insurance Agency
          Chicago, IL 60659                 34920 Ridge Road
                                            Willoughby, OH 44094

          Liberty Truck Insurance
          401 Daniel Payne Drive            M&O California Insurance Services, Inc
          Birmingham, AL 35214              6055 E Washington Blvd Ste 1090
                                            Los Angeles, CA 90040
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          MGA Insurers, Inc                      Marvin Johnson
          2225 Enterprise Drive Suite 2513       PO BOX 1849
          Westchester, IL 60154                  Columbus, IN 47202


          MJ Insurance                           Mass Insurance Agency
          9225 Priority Way West Drive           7300 F Street
          Indianapolis, TN 46240                 Omaha, NE


          MacKenzie Agency                       MassMutual Financial Group
          116 South Third Street                 Policy Loans P O Box 75045
          Saint Peter, MN 56082                  Charlotte , NC 28275-0045


          Mailing Systems of Georgia             Massachusetts Mutual Life Ins
          1710 Cumberland Point Drive Suite 7    Dept #2560
          Marietta, GA 30067                     Los Angeles , CA 90084-2560


          Malone Insurance Services              Massey Insurance Services
          1137 Bordeau Court                     16000 Apple Valley Rd Ste C-2
          Dunwoody , GA 30338                    Apple Valley, CA 92307


          Maple Leaf Insurance Agency Inc        Matrix Insurance Group
          6536 Kitsap Way                        Suite 104
          Bremerton, WA 98312                    Aventura, FL 33180


          Marquee Insurance Group                Maulding & Associates
          1000 Holcomb Woods Pkwy Building 300   P.O. Box 320549
          - Suite 315A                           Jackson, MS
          Roswell, GA 30076

                                                 Maverick Truck Insurance
          Marshall Insurance Agency, Inc         5840 West I20 Suite #201
          1623 21st Ste Suite A                  Arlington, TX 76017
          Springfield, OR 97477

                                                 McDonald Insurance
          Martin & Harrill, Inc.                 90 Whitlock Place
          221 W. Eleventh Street                 Marietta, GA 30064
          Charlotte, NC 28202
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          Menard, Gates, and Mathis           New York Marine and General Insurance
          6401 Poplar Ave Ste 250             Company
          Memphis, TN 38119-4688              c/o Gary Marsh, Dentons US, LLP
                                              303 Peachtree Street, NE, Suite 5300
                                              Atlanta, GA 30308
          Meridian Insurance Group
          4555 Mansell Road Suite 250
          Alpharetta, GA 30022                Nicky's Insurance Agency, Inc
                                              806 Del Oro Lane
                                              Pharr, TX 78577
          Mid South Insurance Agency Inc
          P.O. Box 457
          Corning, AR 72422                   North Country Insurance
                                              8800 SE Sunnyside Rd. 16621 N 91st St
                                              Ste 103
          Millenium Insurance Services        Scottsdale, AZ 85255
          8301 Broadway Suite 405
          San Antonio, TX 78209
                                              OVIA Insurance Services
                                              1809 Banks Road
          Milner, Inc.                        Pompano Beach, FL 33063
          P.O. Box 923197
          Norcross, GA 30010-3197
                                              Orbis Insurance
                                              5800 NW 74th Ave
          Mulligan Insurance Agency, Inc      Miami, FL 33166
          5114 Highway 33-34
          Farmingdale, NJ 07727
                                              PJC Insurance
                                              P.O. Box 9750
          Multi Printing Solutions, Inc.      Springfield, MO 65801-9750
          8113 S. Lemont Rd
          Darien , IL 60561-1755
                                              Palomar Insurance
                                              P.O. Box 11128
          NFP Property & Casualty             Montgomery, AL 36111-0128
          1050 Wigwam Pkwy. #110
          Henderson, NV 89074
                                              Peoples Insurance Agency
                                              PO BOX 119
          National Online Registries, LLC     Waverly , IA 50677
          P O Box 419317
          Kansas City , MO 64141-6317
                                              Premium Assignment Corp
                                              PO BOX 3066
                                              Talahassee, FL 32315-3066
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          Prime Insurance Company                     Reliance Partners
          8722 South Harrison St                      325 Market Street Suite 205
          Sandy, UT 84070                             Chattanooga, TN 37402


          ProSight Specialty                          Rich Insruance Services
          12 Mount Kemble Ave                         105 South 3rd Street
          Suite 300C                                  Cabot , AR 72023
          Morristown, NJ 07960

                                                      Risk Placement Services
          ProSight Specility Mgt. Co., and New York   33719 Treasury Center
          Marine and General Insurance Company        Chicago, IL 60694-3700
          c/o Gary Marsh, Denton US, LLP
          303 Peachtree Street, NE, Suite 5300
          Atlanta, GA 30308                           Roberts Blvd, LLC
                                                      P.O. Box 360566
                                                      Birmingham, AL 35236
          Professional Safety Consultants
          221 Victory Lane Suite 100
          Lincoln, NE 68528                           Rodriguez Insurance Agency
                                                      13111 North Central Expressway Ste 8001

          Propel Insurance                            Dallas, TX 75243
          2045 Cardinal Ave, Ste 300
          Medford, OR 97504
                                                      SC&F Specialty Underwriters
                                                      160 Water Street
          RIS Insurance Services                      16th Floor
          841 N Central Ave Ste C232                  New York, NY 10038-4922
          Kent, WA 98032

                                                      SWZ Insurance
          RJS Insurance Services, Inc.                295 E Renfro #211
          27782 El Lazo                               Burleson, TX 76028
          Laguna Niguel, CA 92677

                                                      Saver Insurance Agency
          RRL Insurance Agecny                        1415 Molson Lake Dr
          35000 Kaiser Court Suite 300                Leander, TX 78641
          Willoughby, OH 44094

                                                      Schoolar & Associates
          Regions Insurance                           P.O. Box 967
          PO BOX 3198                                 Jemison, AL 35085
          Little Rock, AR 72203
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          Sebrite Agency, Inc.              Supportive Insurance Services
          5421 Feltl Road Suite 140         1610 South Old Decker Road
          Hopkins, MN 55343                 Vincennes , IN 47591


          Securance Corporation Agency      Synovus Bank
          P.O. Box 420390                   PO Box 23061
          Houston, TX 77242-0390            Columbus, GA 31902-3061


          South Carolina Department         T.I.S. Ltd.
          Post Office Box 100105            PO Box 740
          Columbia, SC 29202-3105           Weyauwega, WI 54983


          Southern Insurance Specialist     TC Insurance Services
          PO BOX 2116                       1050 Wigwam Pkwy, Suite 110
          Ridgeland, MS 39158-2116          Henderson, NV 89074


          State Comptroller - Texas         TRICOR Inc
          PO Box 149348                     230 W Cherry Street
          Austin , TX 78714-9348            Lancaster, WI 53813


          State Tax Commission              TWI Agency Inc
          P.O. Box 23050                    600 S Tyler St
          Jackson, MS 39225-3050            Amarillo, TX 79101


          Stephens Insurance LLC            Texas Comptroller of Public Accounts
          140 Township Avenue Ste 202       Texas Surplus Lines Department
          Ridgeland, MS 39157               PO Box 13528
                                            Austin, TX 78711-3528

          Sterling Risk Advisors
          2500 Cumberland Pkwy Ste 400      Texas Dept of Insurance
          Atlanta, GA 30339                 Attn: Co Licensing and Reg Off, DIV 50561
                                            P O Box 149104
                                            Austin , TX 78714-9104
          Stonemark, Inc.

                                            Texas Truck
          Sunbelt Insurance Group           2113 Greenbriar Dr
          114 Lee Pkwy Drive                Southlake, TX 76092
          Chattanooga, TN 37421
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          The Buckner Company                     Troutman Sanders LLP
          6550 S. Millrock Drive Ste 300          P.O. Box 933652
          Salt Lake City, UT 84121                Atlanta, GA 31193-3652


          The Hilb Group of Texas, LLC            Truck Insurance Specialists
          777 E. Sonterra Blvd Ste 330            3006 Gill Street Suite D
          San Antonio, TX 78258                   Bloomington, IL 67104


          The Wiley Group, Inc.                   Truckers Insurance
          1255 Roberts Blvd.                      400 West Expressway
          Suite 102                               San Juan, TX 78589
          Kennesaw
          GA 30144
                                                  Trucking Specialist LLC
                                                  425 4th Street SC Suite 802 Box 39
          Thomson Reuters Inc                     Cedar Rapids, IA 52401
          P O Box 417175
          Boston , MA 02241-7175
                                                  Truckline Insurance Grp, LLC / T.D. Hawks
                                                  120 E. 9TH Street
          To be supplemented                      Dubuque, IA 52001


          Transport Services Group, LLC           True North Companies
          3940 Werrington Drive                   500 1st St. SE
          Cumming, GA 30040                       Cedar Rapids, IA 52401


          Transport South Insurancy Agency, LLC   Turner & Hamrick
          1255 Roberts Blvd Ste 102               P.O. Box 985
          Kennesaw, GA 30144                      Troy , AL 36081


          Trinity Insurance Services LLC          U.S. E&O Brokers
          PO Box 439                              820 Gessner Road, Suite 1360
          Clarkson, KY 42726                      Houston, TX 77024-4461


          Triumph Insurance                       U.S. Premium Finance
          3 Park Central, Suite 1700 12700 Park   280 Technology Parkway
          Central Drive                           Suite 200
          Dallas, TX 75251                        Norcross, GA 30092
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          UPS                                  WNC, LLC
          P.O. Box 7247-0244                   2900 Delk Road Ste 700 PMB 252
          Philadelphia, PA 19170-0001          Marietta, GA 30067-5350


          US Insurance Source                  West Virginia Ins Commisioner
          22327 Gosling Road                   PO Box 2153
          Spring, TX 77389                     Charleston , WV 25328-2153


          US Premium Finance                   White Wolf Insurance
          3169 Holcomb Bridge Road Ste 150     2406 S Jupiter Rd STE 4
          Norcross, GA 30071                   Garland, TX 75041


          USA Specialty Insurance LLC          Willcomply, LLC
          5246 SW 8th St STE 102-A             3700 Park East Drive, Suite 250
          Miami, FL 33134                      Beachwood, OH 44122


          USI Southwest                        Windham Brannon, PC
          1340 W. Tunnel Blvd, Suite 110       3630 Peachtree Road NE Suite 600
          Houma, LA 70360                      Atlanta, GA 30326-1543


          USI Transportation
          2021 Spring Road, Suite 100
          Oak Brook, IL 60523


          Various - see attached for SoFA #3


          Vertafore/CIS Solutions
          27384 Network Place
          Holtsville , NY 60673-1273


          Volmert & Associates
          3023 South University Drive #208
          Fort Worth, TX 76109


          WGI/Stonebriar
          16935 W Bernardo Dr Suite 100
          San Diego, CA 92127
